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          8                                 UNITED STATES BANKRUPTCY COURT

          9                                  EASTERN DISTRICT OF CALIFORNIA

         10                                             FRESNO DIVISION

         11      In re                                       Case No. 23-10457
         12
                 MADERA COMMUNITY HOSPITAL,                  Chapter: 11
         13
                         Debtor in Possession.               DC No.: PSJ-025
         14
                 Tax ID# XX-XXXXXXX                          FIRST AMENDED CHAPTER 11 PLAN
         15      Address: 1250 E. Almond Avenue              OF LIQUIDATION PROPOSED BY THE
                          Madera, CA 93637                   OFFICIAL COMMITTEE OF
         16                                                  UNSECURED CREDITORS
         17                                                  Judge: Hon. René Lastreto II
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          1
                            FIRST AMENDED CHAPTER 11 PLAN OF LIQUIDATION PROPOSED BY
          2                      THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

          3              The Official Committee of Unsecured Creditors (the “Committee” or the “Plan Proponent”)
          4      proposes the following First Amended Chapter 11 Plan of Liquidation (the “Plan”) for Madera
                 Community Hospital (the “Debtor”) for, among other things, the resolution of the outstanding Claims
          5      against the Debtor.

          6              Unless otherwise noted, capitalized terms used in this Plan have the meanings set forth in
                 Article I of the Plan. The Plan Proponent is a proponent of this Plan within the meaning of
          7      section 1129 of the Bankruptcy Code. Reference is made to the Disclosure Statement (as such term is
          8      defined herein) for a discussion of the Debtor’s history, business, results of operations, historical
                 financial information, accomplishments leading up to Solicitation of the Plan, and for a summary and
          9      analysis of this Plan and the treatment provided for herein. There also are other agreements and
                 documents that will be Filed with the Bankruptcy Court that are referenced in this Plan, the Plan
         10      Supplement, or the Disclosure Statement as Exhibits. All such Exhibits are incorporated into and are
                 a part of this Plan as if set forth in full herein. Subject to the requirements set forth in section 1127 of
         11      the Bankruptcy Code, Bankruptcy Rule 3019, and the terms of this Plan, the Plan Proponent reserves
         12      the right to alter, amend, modify, revoke, or withdraw this Plan prior to its Consummation.

         13             The Plan Proponent intends to seek confirmation of the Plan pursuant to the “cram down”
                 provisions contained in section 1129(b) of the Bankruptcy Code with respect to any non-accepting
         14      Class of Claims that is Impaired as set forth in Article III hereof.
         15                                      ARTICLE I.
                      RULES OF INTERPRETATION, COMPUTATION OF TIME, AND DEFINED TERMS
         16
                 A.         Rules of Interpretation and Computation of Time
         17

         18               For purposes hereof: (a) in the appropriate context, each term, whether stated in the singular
                 or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
         19      feminine, or neutral gender shall include the masculine, feminine, and the neutral gender; (b) any
                 reference herein to a contract, lease, instrument, release, indenture, or other agreement or document
         20      being in a particular form or on particular terms and conditions means that the referenced document,
                 as previously amended, modified or supplemented, if applicable, shall be substantially in that form or
         21
                 substantially on those terms and conditions; (c) any reference herein to an existing document or exhibit
         22      having been Filed or to be Filed shall mean that document or exhibit, as it may thereafter be amended,
                 modified, or supplemented through and including the Confirmation Date, which, after they are filed,
         23      may be amended, modified, or supplemented only with the express written consent of the Plan
                 Proponent; (d) unless otherwise specified, all references herein to “Articles,” “Sections,” and
         24      “Exhibits” are references to Articles, Sections, and Exhibits hereof or hereto; (e) unless otherwise
                 stated, the words “herein,” “hereof,” “hereunder,” and “hereto” refer to this Plan in its entirety rather
         25
                 than to a particular portion of this Plan; (f) captions and headings to Articles and Sections are inserted
         26      for convenience of reference only and are not intended to be a part of or to affect the interpretation
                 hereof; (g) any reference to an Entity as a Holder of a Claim includes such Entity’s successors and
         27      assigns; (h) the rules of construction set forth in section 102 of the Bankruptcy Code shall apply;
                 (i) any term used in capitalized form herein that is not otherwise defined but that is used in the
         28      Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
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          1      Bankruptcy Code or the Bankruptcy Rules, as the case may be; (j) “$” or “dollars” means Dollars in
                 lawful currency of the United States of America; and (k) any immaterial effectuating provisions may
          2      be interpreted by the Plan Proponent in a manner that is consistent with the overall purpose and intent
          3      of the Plan without further order of the Bankruptcy Court.

          4              The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time
                 prescribed or allowed herein. Any action to be taken on the Effective Date may be taken on or as soon
          5      as reasonably practicable after the Effective Date.

          6      B.         Defined Terms
          7            Unless the context otherwise requires, the following terms shall have the following meanings
                 when used in capitalized form herein:
          8

          9                       1.    “AAM” means American Advanced Management, Inc., a Delaware for profit
                 corporation.
         10
                                 2.      “AAM Cash Contribution” means the Cash to be contributed by AAM, in
         11      accordance with the terms of the MTA, in an amount of up to $30 million, which funds shall be used
                 to fund the Liquidation Trust for the benefit of Holders of General Unsecured Claims, in exchange for
         12      the sale to Buyer of: (i) the Real Property Asset (memorialized in an asset purchase agreement that is
                 substantially similar to the form attached as Exhibit B to the MTA), and (ii) at the election of AAM,
         13
                 the transition of the Hospital Assets to Buyer (memorialized in an asset purchase agreement that is
         14      substantially similar to the form attached as Exhibit C to the MTA).

         15                    3.      “AAM Contribution Lien” means the Lien granted in favor of the Liquidation
                 Trustee against all of the Hospital’s assets that secures AAM’s obligation to pay the AAM Cash
         16      Contribution. For the avoidance of doubt, the AAM Contribution Lien is and shall be subordinated to
                 any Lien granted to HCAI in connection with any loan of DHLP Funds.
         17

         18                       4.    “AAM GUC” has the meaning ascribed to such term in Article V.B. of this Plan.

         19                     5.     “Accrued Professional Compensation” means, with respect to a particular
                 Professional, an Administrative Expense Claim of such Professional for compensation for services
         20      rendered or reimbursement of costs, expenses, or other charges incurred from the Petition Date through
                 and including the Effective Date.
         21
                                 6.     “Administrative Expense Claim” means any Claim against the Debtor or the
         22      Estate that has been timely Filed of a kind specified in section 503(b) and entitled to priority pursuant
         23      to section 507(a)(2) of the Bankruptcy Code, including, but not limited to, the actual and necessary
                 costs and expenses of administration of this Chapter 11 Case incurred after the Petition Date and
         24      through and including the Effective Date, including Professional Fee Claims, Section 503(b)(9)
                 Claims, and Allowed Claims that are entitled to be treated as Administrative Expense Claims pursuant
         25      to a Final Order of the Bankruptcy Court, but excluding any Statutory Fees.
         26                    7.     “Administrative Expense Claim Bar Date” means any deadline set by an order
                 of the Bankruptcy Court by which Holders of Administrative Expense Claims, other than Professional
         27
                 Fee Claims, must assert Administrative Expense Claims or be forever barred.
         28

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          1                      8.      “Affiliate” means an “affiliate” as defined in section 101(2) of the Bankruptcy
                 Code.
          2
                                 9.      “Allowed” means, as to any Claim (or portion thereof), the amount (a) that is
          3
                 allowed by a Final Order of the Bankruptcy Court (or such other court as provided by the Plan or as
          4      the Liquidation Trustee and the Holder of such Claim agree may adjudicate such Claim and objections
                 thereto); (b) that is expressly allowed by this Plan and/or the Confirmation Order in a liquidated
          5      amount; (c) which is not the subject of a Proof of Claim timely Filed with the Bankruptcy Court and
                 is Scheduled as liquidated and noncontingent (other than a Claim that is Scheduled at zero, in an
          6      unknown amount, or as disputed), but only to the extent such Claim (i) is Scheduled as liquidated and
                 noncontingent and (ii) is not the subject of a pending objection pursuant to section 502(d) of the
          7
                 Bankruptcy Code; or (d) for which a Proof of Claim in a liquidated amount has been timely Filed with
          8      the Bankruptcy Court pursuant to the Bankruptcy Code or deemed timely Filed by any Final Order of
                 the Bankruptcy Court or other applicable bankruptcy law, and as to which (i) no objection to its
          9      allowance has been Filed within the periods of limitation fixed by the Plan, the Bankruptcy Code, or
                 by any order of the Bankruptcy Court, (ii) any objection to its allowance has been settled or withdrawn,
         10      or has been denied by a Final Order of the Bankruptcy Court, or (iii) following the Effective Date, as
                 otherwise may be determined by the Liquidation Trust in accordance with the Plan and the Liquidation
         11
                 Trust Agreement (including by stipulation, without further notice to any party, or action, approval, or
         12      order of the Bankruptcy Court). Notwithstanding anything to the contrary herein, no Claim that is
                 Disallowed in accordance with section 502(d) of the Bankruptcy Code is Allowed, and each such
         13      Claim shall be expunged without further action by the Debtor and/or the Liquidation Trustee, and
                 without further notice to any party, or action, approval, or order of the Bankruptcy Court.
         14
                                  10. “Almond Farm” means approximately 35 acres of farmland located on Avenue
         15
                 12 in Madera, Madera County, California, assessor parcel number 047-014-008-000, and any proceeds
         16      of sale thereof.

         17                      11.    “Assets” means all of the right, title, and interest of the Debtor in and to property
                 of whatever type or nature (including real, personal, mixed, intellectual, tangible, intangible, legal or
         18      equitable, and liquidated or unliquidated).
         19                     12.    “Avoidance Actions” means any and all avoidance, recovery, subordination, or
                 other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under the
         20
                 Bankruptcy Code or applicable nonbankruptcy law, including actions or remedies arising under
         21      sections 502, 510, or 542-553 of the Bankruptcy Code, and the proceeds thereof, excluding those
                 Avoidance Actions that have been released or sold pursuant to a Final Order of the Bankruptcy Court
         22      in this Chapter 11 Case.
         23                     13.     “Ballots” means the ballots accompanying the Disclosure Statement upon
                 which certain Holders of Impaired Claims entitled to vote shall, among other things, indicate their
         24      acceptance or rejection of this Plan.
         25
                               14.   “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C.
         26      §§ 101-1532, as amended from time to time.

         27                      15.     “Bankruptcy Court” means the United States Bankruptcy Court for the Eastern
                 District of California, Fresno Division.
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          1                   16.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
                 amended from time to time.
          2
                                  17.     “Bar Date” means the applicable deadlines by which a Proof of Claim must be,
          3
                 or must have been, Filed in this Chapter 11 Case, as established by either an order of the Bankruptcy
          4      Court, the Notice of Chapter 11 Bankruptcy Case [Docket No. 49], or this Plan, including without
                 limitation, (a) the July 17, 2023 deadline to File Proofs of Claim relating to prepetition Claims; (b) the
          5      September 6, 2023 deadline for Governmental Units to File Proofs of Claim relating to prepetition
                 Claims; (c) the September 30, 2023 deadline to File Proofs of Claim for so-called “later discovered
          6      claims,” which claims are identified in Docket No. 558; (d) any Administrative Expense Claim Bar
                 Date; and (e) any deadline established to file a Claim arising from the rejection of any Executory
          7
                 Contract or Unexpired Lease.
          8
                                18.     “Business Day” means any day, other than a Saturday, Sunday, or “legal
          9      holiday” (as defined in Bankruptcy Rule 9006(a)).

         10                     19.     “Buyer” means GSR Madera, L.P., a California limited partnership.
         11                     20.     “Cash” means the legal tender of the United States of America or the equivalent
                 thereof.
         12
                                21.    “Cash on Hand” means the Debtor’s and Estate’s Cash on hand as of the
         13
                 Effective Date, excluding any amounts in the Professional Fee Trust Account required for the payment
         14      of Professional Fee Claims that are contemplated to be paid from the Professional Fee Trust Account.

         15                       22.    “Causes of Action” means any action, claim, cause of action, cross-claim, third-
                 party claim, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit, obligation,
         16      liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege, license and
                 franchise of any kind or character whatsoever belonging to the Debtor or its Estate, in each case
         17
                 whether known, unknown, contingent or non-contingent, matured or unmatured, suspected or
         18      unsuspected, liquidated or unliquidated, disputed or undisputed, foreseen or unforeseen, direct or
                 indirect, choate or inchoate, secured or unsecured, assertible directly or derivatively (including under
         19      alter ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in law
                 or in equity or pursuant to any other theory of law, and the proceeds thereof. For the avoidance of
         20      doubt, Cause of Action includes: (a) any right of setoff, counterclaim or recoupment and any claim for
                 breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to Claims;
         21
                 (c) any claim pursuant to section 362 and any and all Avoidance Actions; (d) any claim or defense
         22      including fraud, mistake, duress and usury, and any other defenses set forth in section 558 of the
                 Bankruptcy Code; (e) any claims under any state, federal or foreign law; (f) all Tort Claims and D&O
         23      Claims; (g) any and all claims under any D&O Liability Insurance Policies; and (h) all Retained Causes
                 of Action, including those enumerated in Article V.S of this Plan. The definition of “Causes of
         24      Action” shall be construed in accordance with its broadest possible meaning, and any doubts or
                 ambiguities shall be resolved in favor of inclusiveness. Except as otherwise expressly provided in
         25
                 this Plan or the Confirmation Order, any and all Causes of Action of the Debtor or the Estate
         26      (including, but not limited to, Tort Claims and D&O Claims), are expressly preserved under the
                 Plan and retained by the Liquidation Trust.
         27
                                23.     “CDPH” means the California Department of Public Health.
         28

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          1                 24.     “Chapter 11 Case” means the Debtor’s case under chapter 11 of the Bankruptcy
                 Code commenced on the Petition Date in the Bankruptcy Court.
          2
                               25.    “CHOW Application” means an application for change of ownership or transfer
          3
                 of membership interests submitted to CDPH to effect a change in licensed operator of the Hospital
          4      from the Debtor to AAM.

          5                  26.     “CHOW Election” means AAM’s option, at its sole discretion, to submit a
                 CHOW Application to CDPH to effect a change in licensed operator of the Hospital from the Debtor
          6      to AAM, which option must be exercised, if at all, within 36 months after the MTA Execution Date.
          7                    27.    “Claim” means any “claim” against the Debtor as defined in section 101(5) of
                 the Bankruptcy Code.
          8

          9                   28.      “Claims Register” means the official register of Claims maintained by the
                 Bankruptcy Court.
         10
                                29.    “Class” means a category of Holders of Claims as set forth in Article III hereof
         11      pursuant to section 1122(a) of the Bankruptcy Code.
         12                     30.    “Closing Date” means the date on which the Real Property Asset and Hospital
                 Assets (other than the Estate Personal Assets) are transferred from the Debtor to Buyer. For the
         13      avoidance of doubt, no Liquidation Trust Assets shall be, or shall be deemed, transferred from the
         14      Debtor to AAM or the Buyer.

         15                       31.     “Collateral” means any property or interest in property of the Debtor’s Estate
                 that is subject to a valid and enforceable Lien to secure a Claim.
         16
                                 32.     “Commitment Deadline” means the earlier to occur of: (i) five days after any
         17      notification in writing received by AAM or its counsel (including via email or other electronic means)
                 that HCAI is not willing to loan at least $50 million of DHLP Funds to the Hospital (including, but
         18
                 not limited to, its unwillingness to loan at least $50 million of DHLP Funds if AAM is the Hospital’s
         19      operator); or (ii) April 15, 2024; provided, however, that if the Bankruptcy Court enters an order
                 approving the MSA after the MSA Approval Deadline, the Commitment Deadline shall be extended
         20      by an amount of days equal to the number of days that fall between the MSA Approval Deadline and
                 the date on which such order is entered by the Bankruptcy Court.
         21
                               33.    “Committee” means the Official Committee of Unsecured Creditors in the
         22      Chapter 11 Case appointed pursuant to section 1102 of the Bankruptcy Code.
         23
                                 34.    “Committee Exculpated Parties” means, collectively, (i) the Committee; (ii) the
         24      Committee’s Professionals; and (iii) the Committee’s current and former members, solely acting in
                 their capacities as members of the Committee.
         25
                              35.     “Confirmation Date” means the date on which the clerk or other agent of the
         26      Bankruptcy Court enters the Confirmation Order on the docket of the Bankruptcy Court.
         27                     36.     “Confirmation Hearing” means the hearing held by the Bankruptcy Court
                 pursuant to sections 1128 and 1129 of the Bankruptcy Code to consider confirmation of this Plan, as
         28
                 such hearing may be adjourned or continued from time to time.
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          1                     37.     “Confirmation Order” means the order of the Bankruptcy Court confirming this
                 Plan pursuant to section 1129 of the Bankruptcy Code.
          2
                              38.   “Conforming Escrow Account” means an escrow account subject to a
          3
                 Conforming Escrow Agreement.
          4
                                  39.     “Conforming Escrow Agreement” means an escrow agreement between AAM,
          5      the Debtor, the Committee and an escrow agent that provides as follows: (1) all funds held in the
                 Conforming Escrow Account shall be held in trust for the benefit of Holders of Allowed General
          6      Unsecured Claims; and (2) funds contained in the Escrow Account shall not be released from the
                 Escrow Account to AAM, the Debtor, the Liquidation Trustee, or otherwise, except as follows: (A)
          7      on or before the Expense Payment Deadline of each calendar month, funds held in the Escrow Account
          8      shall be released to the Debtor in an amount sufficient to pay all Undisputed OAD Expenses, that were
                 due and unpaid as of the first day of the prior calendar month (and as to which AAM has not provided
          9      to the Committee (of, if appointed pursuant to the Plan, the Liquidation Trustee) proof of payment
                 prior to the Expense Payment Deadline) and shall be immediately applied by the Debtor solely to pay
         10      such Undisputed OAD Expenses; (B) on or before the Expense Payment Deadline of each calendar
                 month, a portion of the One Million Deposit shall be released to the Debtor in an amount sufficient to
         11      pay all interest and related expenses associated with any Allowed SAMC Secured Obligations that
         12      accrued during the prior calendar month, and shall be immediately applied by the Debtor solely to pay
                 such interest and related expenses; (C) upon the Effective Date, all funds remaining in the Escrow
         13      Account (which shall be no less than $15 million) shall be released to the Liquidation Trustee to fund
                 the initial portion of the AAM Cash Contribution; and (D) upon (i) order of the Bankruptcy Court
         14      confirming that the MTA has been validly terminated, or (ii) written confirmation by AAM, on the
                 one hand, and either the Committee or the Liquidation Trustee, on the other hand, that the MTA has
         15
                 been validly terminated, any funds remaining in the Escrow Account shall be applied in the following
         16      order: first, to (i) pay any Termination Date Expenses or (ii) deposit with the Liquidation Trustee an
                 amount sufficient to pay all Termination Date Expenses, and second, to refund to AAM any funds
         17      remaining in the Escrow Account after all OAD Expenses have been paid in full.

         18                     40.    “Consummation” or “Consummated” means the occurrence of the Effective
                 Date.
         19
                                41.    “Creditor” means a “creditor,” as defined in section 101(10) of the Bankruptcy
         20
                 Code.
         21
                              42.     “Cure Costs” means any amounts required to cure any default(s) under an
         22      Executory Contract or Unexpired Lease as required under the Bankruptcy Code or determined by the
                 Bankruptcy Court pursuant to a Final Order.
         23
                               43.      “Debtor” means Madera Community Hospital, in its capacity as debtor and
         24      debtor in possession in the Chapter 11 Case and, from and after the Effective Date, as liquidating
                 debtor pursuant to the Plan.
         25

         26                      44.   “Debtor Exculpated Parties” means, collectively, the Debtor’s Professionals
                 retained in the Chapter 11 Case. For the avoidance of doubt, no Excluded Parties are included within
         27      the scope of the Debtor Exculpated Parties.

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          1                    45.    “Designated Contract” means any Executory Contract or Unexpired Lease
                 designated by the Buyer to be assumed by the Debtor and assigned to the Buyer as of the Effective
          2      Date. All Designated Contracts shall be identified in the Plan Supplement.
          3
                                 46.    “DHLP Funds” means any amounts loaned to the Hospital by the California
          4      Health Facility Financing Authority in connection with the $2 million bridge loan award and eligibility
                 for another $50 million loan announced by HCIA on August 24, 2023, or pursuant to any other funds
          5      loans, granted, or otherwise awarded by HCAI to the Hospital (or its then owner) pursuant to AB112.
                 For the avoidance of doubt, any DHLP Funds shall be applied solely to fund operation of the Hospital
          6      so long as it continues to operate.
          7                    47.   “DHLP Funds Receipt Date” means the first date on which the Hospital
          8      receives any DHLP Funds.

          9                      48.     “Disallowed” means, as to any Claim (or portion thereof), a Claim against the
                 Debtor that (i) has been disallowed by a Final Order, (ii) is not listed on the Schedules or, as to any
         10      Claim, is listed as unliquidated, contingent, or disputed and as to which no Proof of Claim has been
                 Filed by the applicable Bar Date for such Claim or deemed timely Filed pursuant to any Final Order,
         11      or (iii) has been agreed to by the Holder of such Claim and the Debtor or the Liquidation Trustee to
                 have no value or to be expunged.
         12

         13                     49.   “Disclosure Statement” means that certain Second Amended Disclosure
                 Statement for the Chapter 11 Plan of Liquidation Proposed by the Official Committee of Unsecured
         14      Creditors, as amended, supplemented, or modified from time to time, including all Exhibits and
                 schedules thereto and, in form and substance acceptable to the Plan Proponent [Docket No. ●],
         15      approved by the Bankruptcy Court on [●].
         16                      50.     “Disputed” means, with respect to a Claim, (a) any Claim, which Claim is
         17      disputed under Article VIII of this Plan or as to which the Debtor before the Effective Date, or the
                 Liquidation Trustee from and after the Effective Date, or any other party in interest has interposed and
         18      not withdrawn an objection or request for estimation that has not been determined by a Final Order;
                 (b) any Claim, proof of which was required to be Filed by any Bar Date or order of the Bankruptcy
         19      Court but as to which a Proof of Claim was not timely or properly Filed or deemed timely and/or
                 properly Filed by Final Order; (c) any Claim that is listed in the Schedules as unliquidated, contingent
         20      or disputed, and as to which no request for payment or Proof of Claim has been timely Filed; or (d)
         21      any Claim that is otherwise disputed by the Debtor or the Committee before the Effective Date or the
                 Liquidation Trustee from and after the Effective Date in accordance with applicable law or contract,
         22      which dispute has not been withdrawn, resolved or overruled by a Final Order, provided, however,
                 that if the Debtor, the Committee or the Liquidation Trustee seek to dispute a Claim that is the subject
         23      of a Filed Proof of Claim, the Debtor, the Committee or the Liquidation Trustee shall do so in
                 accordance with the Bankruptcy Code, Bankruptcy Rules, and the Local Rules. To the extent the
         24      Debtor, the Committee or the Liquidation Trustee dispute only the amount of a Claim, such Claim
         25      shall be deemed Allowed in the amount the Debtor and the Committee before the Effective Date or
                 the Liquidation Trustee from and after the Effective Date do not dispute, if any, and Disputed as to the
         26      balance of such Claim.

         27                     51.   “Disputed Claims Reserve” means a reserve, which may be held in a segregated
                 account, for the payment of Disputed General Unsecured Claims that become Allowed General
         28

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          1      Unsecured Claims after the Effective Date, which reserve shall be held in trust and maintained by the
                 Liquidation Trustee for the benefit of Holders of Disputed General Unsecured Claims.
          2
                                52.      “Disputed OAD Expenses” means all OAD Expenses that remain due and
          3
                 unpaid as of the first day of a calendar month due to a bona fide dispute.
          4
                                 53.      “Distributable Assets” means, except as otherwise noted herein, any and all
          5      real, personal, or other property of the Debtor of any nature as of the Effective Date and the Liquidation
                 Trust from and after the Effective Date, and any and all proceeds of the foregoing, as the case may be,
          6      of any nature whatsoever (whether liquidated or unliquidated, matured or unmatured, or fixed or
                 contingent), including, but not limited to, (i) any Cash on Hand; (ii) any portion of the AAM Cash
          7      Contribution funded by AAM pursuant to the MTA; (iii) the Estate Personal Assets; (iv) any Excess
          8      Professional Fee Trust Amount; (v) the D&O Liability Insurance Policies; (vi) the Retained Causes of
                 Action (including, but not limited to, Tort Claims and D&O Claims); and (vii) the proceeds of the
          9      foregoing. Notwithstanding the foregoing, the term “Distributable Assets” does not include any Cash
                 tendered by the Debtor and held in the Professional Fee Trust Account except for the Excess
         10      Professional Fee Trust Amount, if any. For the avoidance of doubt, the term “Distributable Assets”
                 includes any proceeds or other consideration realized from any Liquidation Transaction and/or the net
         11      proceeds from Estate Personal Assets and the Real Property Asset.
         12
                                 54.    “Distribution Agent” means any party designated by the Liquidation Trustee to
         13      serve as distribution agent under this Plan. The Liquidation Trustee may be the Distribution Agent.

         14                     55.      “Distribution Record Date” means the date for determining which Holders of
                 Claims are eligible to receive Plan Distributions, as such date shall be fixed by order of the Bankruptcy
         15      Court.
         16                      56.     “D&O Claims” means any and all rights, Causes of Action and claims arising
         17      under state, federal or other applicable law against the Debtor’s current or former directors, trustees,
                 managers, officers and similar parties, including, without limitation: (i) claims for breach of fiduciary
         18      duty, (ii) claims relating to damages, losses, or amounts owed or potentially owed for any alleged or
                 actual violation of the federal WARN Act, 29 U.S.C. § 2101, et seq., the California WARN Act, Cal.
         19      Lab. Code §§ 1401, et seq., California Labor Code, Cal. Lab. Code § 227.3, the Labor Code Private
                 Attorneys General Act, Cal. Lab. Code §§ 2698-2699 et seq., or any similar laws, and/or (iii) claims
         20      related to damages, losses, or amounts owed or potentially owed arising from or relating to the
         21      termination, lapse or other loss of the benefit of any of the Debtor’s Medicare, Medicaid or Medi-Cal
                 provider agreements(s), Rural Health Clinic License(s), or other similar agreements, and the proceeds
         22      of any such rights, Causes of Action and claims, including from any D&O Liability Insurance Policies.

         23                      57.    “D&O Liability Insurance Policies” means all insurance policies for directors’,
                 officers’, managers’, trustees’ and/or similar parties’ liability maintained by the Debtor as of the
         24      Petition Date and/or the Effective Date, including tail coverage after the termination of any such
                 policies, and the proceeds thereof.
         25

         26                      58.    “Effective Date” means, with respect to the Plan, the date that is the first
                 Business Day after the Confirmation Date on which: (a) no stay of the Confirmation Order is in effect;
         27      (b) all conditions precedent specified in Article IX.A have been satisfied or waived (in accordance
                 with Article IX.B); and (c) the Plan is declared effective. Within two (2) Business Days of the
         28

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          1      Effective Date, the Plan Proponent will file a notice of occurrence of the Effective Date on the
                 Bankruptcy Court docket.
          2
                                59.    “Entity” means an “entity” as defined in section 101(15) of the Bankruptcy
          3
                 Code.
          4
                                60.   “Escrow Account” means the escrow account into which AAM shall
          5      immediately deposit the Initial Contribution upon the Bankruptcy Court’s approval of the Debtor’s
                 entry into the MSA and such order becoming a Final Order.
          6
                                61.    “Estate” means the bankruptcy estate of the Debtor created by virtue of
          7      section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.
          8                     62.     “Estate Personal Assets” means all quality assurance fees, Federal Emergency
          9      Management Agency (FEMA) funds, Cash on Hand as of the Operation Assumption Date, accounts
                 receivable, Causes of Action, the Almond Farm, and all other Assets identified in the Debtor’s
         10      Schedules or accruing prior to the Operation Assumption Date. For the avoidance of doubt, all Estate
                 Personal Assets shall remain the property of the Debtor’s Estate, available to pay the Claims of all of
         11      the Debtor’s Creditors and shall not be: (i) subject to the MSA; (ii) transferred or otherwise
                 hypothecated, encumbered (except as such encumbrance existed on the Petition Date) or otherwise
         12      affected by the MSA, the MTA, or the transactions contemplated therein; or (iii) impaired, impacted
         13      or otherwise affected by AAM or any affiliate thereof.

         14                     63.    “Excess Professional Fee Trust Amount” means any amounts remaining in the
                 Professional Fee Trust Account after the payment of all Allowed Professional Fee Claims.
         15
                                 64.      “Exchange Act” means the Securities and Exchange Act of 1934, as now in
         16      effect or hereafter amended, and the rules and regulations promulgated thereunder, and any similar
                 federal, state or local law.
         17

         18                     65.    “Excluded Parties” means, collectively, each party listed on Exhibit A hereto.

         19                     66.    “Exculpated Parties” means, collectively, each in its capacity as such: (a) the
                 Debtor Exculpated Parties, (b) the Committee Exculpated Parties, and (c) the SAMC Exculpated
         20      Parties; provided, however, that the Exculpated Parties shall not include any of the Excluded Parties.

         21                     67.    “Exculpation” means the exculpation provision set forth in Article XI.B hereof.
         22                     68.    “Executory Contract” means a contract to which the Debtor is a party that is
                 subject to assumption, assignment, or rejection under section 365 of the Bankruptcy Code.
         23

         24                    69.    “Expense Payment Deadline” means, as to each calendar month, the tenth
                 Business Day of such calendar month.
         25
                               70.    “Exhibit” means an exhibit annexed hereto, to the Plan Supplement, or as an
         26      appendix to the Disclosure Statement (as such exhibits are amended, modified or otherwise
                 supplemented from time to time), which are incorporated by reference herein.
         27

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          1                     71.     “Federal Judgment Rate” means the interest rate on federal judgments, in effect
                 for the calendar week of the Petition Date, and is based on the weekly average 1-year constant maturity
          2      Treasury yield, as published by the Board of Governors of the Federal Reserve System.
          3
                                72.    “File” or “Filed” means file or filed with the Bankruptcy Court or its authorized
          4      designee in the Chapter 11 Case.

          5                     73.    “Final Distribution Date” means the date when, (a) in the reasonable judgment
                 of the Liquidation Trustee substantially all of the assets of the Liquidation Trust have been monetized
          6      and there are no substantial potential sources of additional Cash for distribution, (b) there remain no
                 Disputed Claims, and (c) the Liquidation Trustee distributes all remaining Cash held by the
          7      Liquidation Trust to the Holders of Liquidation Trust Interests in accordance with this Plan and the
          8      Liquidation Trust Agreement.

          9                       74.     “Final Order” means an order or judgment: (i) as to which the time to appeal,
                 petition for certiorari or move for review or rehearing has expired and as to which no appeal, petition
         10      for certiorari or other proceeding for review or rehearing is pending, or such an appeal has been
                 rendered statutorily moot pursuant to Section 363(m) of the Bankruptcy Code, or (ii) if an appeal, writ
         11      of certiorari, reargument or rehearing has been filed or sought, and a stay pending appeal has been
                 entered, the order or judgment has been affirmed by the highest court to which such order or judgment
         12
                 was appealed or certiorari has been denied, or reargument or rehearing shall have been denied or
         13      resulted in no modification of such order or judgment, and the time to take any further appeal or to
                 seek certiorari or further reargument or rehearing has expired; provided that the theoretical possibility
         14      that a motion under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule
                 under the Bankruptcy Rules, may be filed with respect to such order or judgment shall not prevent
         15      such order or judgment from being considered a Final Order.
         16
                                75.     “General Unsecured Claim” means any Claim against the Debtor that is not
         17      a/an: (a) Administrative Expense Claim (including a Professional Fee Claim); (b) Priority Tax Claim;
                 (c) Other Priority Claim; (d) Other Secured Claim; or (e) SAMC Secured Obligation. For the
         18      avoidance of doubt, the AAM GUC shall constitute a General Unsecured Claim, but shall be
                 subordinated in all respects to all other Allowed General Unsecured Claims and shall only be payable
         19      upon the payment in full (without interest) of all Allowed General Unsecured Claims (other than the
                 AAM GUC), except as otherwise set forth in this Plan.
         20

         21                    76.      “Governmental Unit” means a “governmental unit” as defined in
                 section 101(27) of the Bankruptcy Code.
         22
                                77.     “HCAI” means the California Department of Health Care Access and
         23      Information.
         24                       78.    “Holder” means, as applicable, (i) an Entity holding a Claim against the Debtor;
                 or (ii) an Entity holding a Liquidation Trust Interest in the Liquidation Trust.
         25
                             79.   “Hospital” means the Debtor’s general acute care hospital, located at 1250 E
         26
                 Almond Avenue, Madera, California 93637, and related facilities.
         27

         28

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          1                     80.    “Hospital Assets” means the Hospital’s operational assets and any other
                 personal property assets generated after the Operation Assumption Date, but does not include the
          2      Estate Personal Assets (or any other Liquidation Trust Assets).
          3
                               81.     “Impaired” means, when used in reference to a Claim, a Claim that is impaired
          4      within the meaning of section 1124 of the Bankruptcy Code.

          5                   82.     “Initial Contribution” means the $15 million deposit to be made by AAM, into
                 the Escrow Account, as an initial deposit toward the AAM Cash Contribution, immediately upon the
          6      Bankruptcy Court’s approval of the Debtor’s entry into the MSA and such order becoming a Final
                 Order.
          7
                                83.     “Initial Distribution Date” means, subject to the “Treatment” sections in
          8
                 Article III hereof, the date that is on or as soon as reasonably practicable after the Effective Date,
          9      when Plan Distributions shall commence to Holders of Allowed Claims.

         10                     84.     “Insured Claim” means a General Unsecured Claim arising prior to the
                 Confirmation Date involving personal injury, medical malpractice, slip-and-fall, wrongful death, or
         11      other similar Claims that are covered by the terms of the Debtor’s various insurance policies, or any
                 other General Unsecured Claim against the Debtor for which the Debtor is entitled to indemnification,
         12      reimbursement, contribution, or other payment under a policy of insurance under which the Debtor is
         13      an insured or beneficiary of the coverage provided under the applicable policy. All Insured Claims
                 are Disputed Claims. Some of the Insured Claims may be fully insured, and no deductible amount
         14      would be payable by the Debtor under the terms of the applicable insurance policy. As to other Insured
                 Claims, a deductible or self-insured retention obligation may be applicable. For the avoidance of
         15      doubt, with respect to all Insured Claims arising from events that occurred prior to the Petition Date
                 for which notice is or was provided to the insurer in accordance with the applicable policy, such
         16
                 deductibles and self-insured retention obligations shall be treated as Class 4 General Unsecured Claims
         17      to the extent Allowed. Further, no insurance carrier shall, or shall be entitled, to deny coverage under
                 any insurance policy based upon (i) any failure of the Debtor, the Estate, the Liquidation Trust, or the
         18      Liquidation Trustee, to pay any deductible or self-insured retention in full, or (ii) the treatment of any
                 Claim for a deductible or self-insured retention obligation as a Class 4 General Unsecured Claim.
         19
                                85.      “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
         20      and, with respect to any asset, includes any mortgage, lien, pledge, charge, security interest or other
         21      encumbrance of any kind, or any other type of preferential arrangement that has the practical effect of
                 creating a security interest, in respect of such asset.
         22
                                 86.    “Liquidation Transaction” means any form of transaction or procedure to
         23      implement an orderly liquidation of the Debtor’s Assets, including the Hospital, so that the proceeds
                 thereof can ultimately be distributed to Holders of Allowed Claims.
         24
                                 87.    “Liquidation Trust” means the trust established pursuant to the Liquidation
         25      Trust Agreement. With respect to any action required or permitted to be taken by the Liquidation
         26      Trust, the term includes the Liquidation Trustee or any other Person or Entity authorized to take such
                 action in accordance with the Liquidation Trust Agreement. In the event of any conflict between the
         27      terms of this Plan and the terms of the Liquidation Trust Agreement, the terms of the Plan control.

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          1                     88.    “Liquidation Trust Agreement” means that certain agreement establishing and
                 delineating the terms and conditions of the Liquidation Trust, in form and substance reasonably
          2      acceptable to the Committee.
          3
                                 89.    “Liquidation Trust Assets” means all assets held from time to time by the
          4      Liquidation Trust (including the Estate Personal Assets and the Causes of Action, including, but not
                 limited to, Tort Claims and D&O Claims and the proceeds thereof), the proceeds of which shall be
          5      distributed to the Holders of Liquidation Trust Interests after payment in full of Trust Expenses and
                 any other obligations to the extent set forth in this Plan or the Liquidation Trust Agreement. The
          6      Liquidation Trust Assets shall initially consist of the Distributable Assets. For the avoidance of doubt,
                 the term “Liquidation Trust Assets” does not include any Cash tendered by the Debtor and held in the
          7
                 Professional Fee Trust Account except for the Excess Professional Fee Trust Amount, if any.
          8
                                90.     “Liquidation Trust Beneficiaries” means the Holders of Liquidation Trust
          9      Interests.

         10                     91.     “Liquidation Trust Interests” means the beneficial interests in the Liquidation
                 Trust distributed to the Holders of Allowed Claims in Class 4 on account of the Allowed General
         11      Unsecured Claims as set forth in Article III.F.4 of the Plan.
         12                      92.     “Liquidation Trust Oversight Committee” means the committee formed
         13      pursuant to Article V.J of the Plan to, among other things, consult with the Liquidation Trust. AAM
                 shall have the right to serve as one of the members of the Liquidation Trust Oversight Committee.
         14
                               93.      “Liquidation Trustee” means that Person selected by the Committee, with the
         15      consent of AAM, such consent not to be unreasonably withheld, to serve as the trustee of the
                 Liquidation Trust as set forth in Article V.H of the Plan or any of his, her, or its successors.
         16
                               94.    “Local Rules” means the Local Rules of Practice of the United States
         17
                 Bankruptcy Court Eastern District of California, as amended from time to time and as applicable to
         18      the Chapter 11 Case.

         19                     95.     “MSA” means the Management Services Agreement, by and between AAM and
                 the Debtor, substantially in the form approved by the Bankruptcy Court pursuant to an order granting
         20      the Debtor’s motion, pursuant to Section 363 of the Bankruptcy Code, for authority to enter into it,
                 and the MTA, filed in the Bankruptcy Case on January 19, 2024 [Docket No. 1298].
         21
                                96.     “MSA Approval Deadline” means February 15, 2024.
         22

         23                   97.     “MSA Approval Order Date” means the date on which the order approving the
                 MSA in entered by the Bankruptcy Court.
         24
                               98.      “MTA” means the Master Transition Agreement by and between AAM and the
         25      Debtor, substantially in the form approved by the Bankruptcy Court, pursuant to an order granting the
                 Debtor’s motion, pursuant to Section 363 of the Bankruptcy Code, for authority to enter into it, and
         26      the MSA, filed in the Bankruptcy Case on January 19, 2024 [Docket No. 1298].
         27                    99.     “MTA Execution Date” means the first date on which the MTA and MSA have
         28      both been signed by all parties thereto.

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          1                     100. “Net Distributable Assets” means the Distributable Assets of the Liquidation
                 Trust from and after the Effective Date once all such assets have been reduced to Cash, net of amounts
          2      necessary to fund the payment of, as applicable and except as otherwise agreed by the Holders of such
          3      Claims, Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Other
                 Priority Claims, Allowed Secured Claims, Allowed SAMC Secured Obligations, and Trust Expenses,
          4      and/or reserves established for any of the foregoing.

          5                      101. “OAD Expenses” means all expenses associated with the Hospital’s operations
                 arising after the Operation Assumption Date.
          6
                                 102. “OAD Revenues” means any and all revenues (other than revenue that
          7      constitutes, or arises from, the Estate Personal Assets) that arise after the Operation Assumption Date
          8      and prior to the termination of MSA.

          9                      103. “One Million Deposit” means the $1 million deposit to be made by AAM, into
                 the Escrow Account immediately upon the Bankruptcy Court’s approval of the Debtor’s entry into the
         10      MSA and such order becoming a Final Order, for the payment of all interest and related expenses
                 associated with any Allowed SAMC Secured Obligations until (a) the MSA is terminated; (b) all
         11      SAMC Secured Obligations have been paid in full; or (c) the Plan Confirmation Deadline. For the
                 avoidance of doubt, the One Million Deposit is in addition to the AAM Cash Contribution and shall
         12
                 not be credited against, nor in any way reduce, the AAM Contribution due in accordance with
         13      paragraph 3 of the MTA or this Plan. Upon payment in full of all Allowed SAMC Secured Obligation,
                 any unused balance of the One Million Deposit shall be applied in the following priority: first, to fund
         14      the Initial Contribution, second to fund each Supplemental Contribution sequentially, and, third, after
                 all of AAM’s obligations to fund the Initial Contribution and the Supplemental Contributions have
         15      been satisfied in full, to be repaid to AAM.
         16
                               104. “Operation Assumption Date” means the first date on which both of the
         17      following conditions have occurred: (a) the Bankruptcy Court’s order approving the MTA and the
                 MSA has become a Final Order, and (b) AAM has deposited both the Initial Contribution and the One
         18      Million Deposit into a Conforming Escrow Account.

         19                     105. “Other Priority Claim” means any Claim against the Debtor accorded priority
                 in right of payment under section 507(a) of the Bankruptcy Code, other than a Priority Tax Claim or
         20      an Administrative Expense Claim.
         21
                             106. “Other Secured Claim” means any Secured Claim against the Debtor other than
         22      an SAMC Secured Obligation.

         23                     107. “Person” means a “person” as defined in section 101(41) of the Bankruptcy
                 Code and also includes any natural person, corporation, general or limited partnership, limited liability
         24      company, firm, trust, association, government, governmental agency or other Entity, whether acting
                 in an individual, fiduciary, or other capacity.
         25
                             108. “Petition Date” means March 10, 2023, the date on which the Debtor
         26
                 commenced the Chapter 11 Case.
         27
                                109. “Plan” means this First Amended Chapter 11 Plan of Liquidation Proposed by
         28      the Official Committee of Unsecured Creditors, including the Exhibits and Plan Supplement and all

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          1      supplements, appendices, and schedules thereto, either in its present form or as the same may be
                 altered, amended, modified, or otherwise supplemented from time to time.
          2
                               110. “Plan Confirmation Deadline” means the first day that is ninety (90) days after
          3
                 the Commitment Deadline. The Plan Confirmation Deadline may be extended by AAM or by order
          4      of the Bankruptcy Court.

          5                    111. “Plan Distribution” means the payment or distribution of consideration to
                 Holders of Allowed Claims under this Plan.
          6
                                112. “Plan Documents” means any of the documents, other than this Plan, to be
          7      executed, delivered, assumed, or performed in connection with the occurrence of the Effective Date,
                 including the documents to be included in the Plan Supplement.
          8

          9                     113.    “Plan Proponent” means the Committee.

         10                      114. “Plan Supplement” means, collectively, the compilation of documents and
                 forms of documents, and all exhibits, attachments, schedules, agreements, documents and instruments
         11      referred to therein, ancillary or otherwise, including the Exhibits, Plan Documents, and the Designated
                 Contract list, all of which are incorporated by reference into, and are an integral part of, this Plan, as
         12      all of the same may be amended, modified, replaced and/or supplemented from time to time, which
                 shall be Filed with the Bankruptcy Court. The Plan Proponent shall have the right to amend the
         13
                 documents contained in, and exhibits to, the Plan Supplement through the Effective Date.
         14
                               115. “Post-Effective Date Notice List” means the list, created pursuant to Article
         15      XIV.F of this Plan, of Persons who desire to receive notices after the Effective Date of the Plan.

         16                     116. “Priority Tax Claim” means any Claim of a Governmental Unit against the
                 Debtor of the kind specified in section 507(a)(8) of the Bankruptcy Code.
         17
                                117. “Pro Rata” means the proportion that (a) the Allowed amount of a Claim in a
         18
                 particular Class (or several Classes taken as a whole) bears to (b) the aggregate Allowed amount of all
         19      Claims in such Class (or several Classes taken as a whole), unless this Plan provides otherwise.

         20                     118. “Professional” means (a) any Entity employed in the Chapter 11 Case pursuant
                 to section 327, 328, 363, or 1103 of the Bankruptcy Code or otherwise, and (b) any Entity seeking
         21      compensation or reimbursement of expenses in connection with the Chapter 11 Case pursuant to
                 section 503(b)(4) of the Bankruptcy Code.
         22
                               119. “Professional Fee Claim” means a Claim under sections 328, 330(a), 331, 363,
         23
                 503, or 1103 of the Bankruptcy Code for Accrued Professional Compensation.
         24
                                120. “Professional Fee Trust Account” means the trust account held by the Debtor’s
         25      or the Liquidation Trustee’s counsel for the purpose of paying Allowed Professional Fee Claims.

         26                    121.     “Proof of Claim” means a proof of Claim Filed against the Debtor in the
                 Chapter 11 Case.
         27
                                 122. “Reinstated” or “Reinstatement” means, with respect to any Claim, (a) leaving
         28      unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder of such Claim
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          1      in accordance with Section 1124 of the Bankruptcy Code; or (b) notwithstanding any contractual
                 provision or applicable law that entitles the Holder of such Claim to demand or receive accelerated
          2      payment of such Claim after the occurrence of a default: (i) curing any such default that occurred
          3      before or after the Petition Date, other than a default of a kind specified in section 365(b)(2) of the
                 Bankruptcy Code or of a kind that section 365(b)(2) of the Bankruptcy Code expressly does not require
          4      to be cured; (ii) reinstating the maturity of such Claim as such maturity existed before such default;
                 (iii) compensating the Holder of such Claim for any damages incurred as a result of any reasonable
          5      reliance by such Holder on such contractual provision or such applicable law; (iv) if such Claim arises
                 from any failure to perform a non-monetary obligation, other than a default arising from failure to
          6      operate a non-residential real property lease subject to section 365(b)(1)(A) of the Bankruptcy Code,
          7      compensating the Holder of such Claim (other than the Debtor or an insider of the Debtor) for any
                 actual pecuniary loss incurred by such Holder as a result of such failure; and (v) not otherwise altering
          8      the legal, equitable, or contractual rights to which such Claim entitles the Holder of such Claim.

          9                     123.    “Real Property Asset” means the real property on which the Hospital is located.
         10                     124. “Related Persons” means, (i) with respect to any Person other than the Debtor,
                 such Person’s financial advisors, attorneys, accountants, investment bankers, investment advisors,
         11      consultants, representatives, and other professionals, in each case acting solely in such capacity at any
         12      time, and any Person claiming by or through any of them, and (ii) with respect to the Debtor, such
                 Debtor’s Professionals retained in this Chapter 11 Case. None of the Excluded Parties shall be a
         13      Related Person of the Debtor.

         14                     125. “Retained Causes of Action” shall have the meaning ascribed to such term in
                 Article V.S of this Plan.
         15
                                126.    “SAMC” means Saint Agnes Medical Center.
         16

         17                     127. “SAMC Exculpated Parties” means SAMC and its Related Persons, current and
                 former officers, directors, managers, equity holders, Affiliates, subsidiaries, predecessors, successors,
         18      and employees, in their capacities as such. For the avoidance of doubt, the Excluded Parties are
                 expressly excluded from the definition of SAMC Exculpated Parties.
         19
                                 128. “SAMC Secured Obligation” or “SAMC Secured Obligations” means any
         20      Secured Claim held by SAMC as a result of financing provided to the Debtor in April 2021 in the
                 initial principal amount of $15,000,000.
         21

         22                      129. “Schedules” means the schedules of Assets and liabilities, statements of
                 financial affairs, lists of Holders of Claims and all amendments or supplements thereto Filed by the
         23      Debtor with the Bankruptcy Court.

         24                     130. “Section 503(b)(9) Claims” means Allowed Claims pursuant to section
                 503(b)(9) of the Bankruptcy Code.
         25
                                 131. “Secured Claim” means a Claim that is secured by a valid and enforceable Lien
         26      on property in which the Debtor’s Estate has an interest or that is subject to valid setoff under
         27      section 553 of the Bankruptcy Code, to the extent of the value of the Claim Holder’s interest in such
                 Estate’s interest in such property or to the extent of the amount subject to setoff, as applicable, as
         28      determined pursuant to section 506(a) of the Bankruptcy Code or, in the case of setoff, pursuant to

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          1      section 553 of the Bankruptcy Code; provided, however, that a Secured Claim shall not include any
                 portion of the Claim to the extent that the value of such Entity’s Collateral is less than the amount of
          2      such Claim.
          3
                                132.    “SEC” means the Securities and Exchange Commission.
          4
                                 133. “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77c-77aa, as
          5      now in effect or hereafter amended, and the rules and regulations promulgated thereunder, and any
                 similar federal, state, or local law.
          6
                                134. “Security” or “security” means any security as such term is defined in section
          7      101(49) of the Bankruptcy Code.
          8                      135. “Solicitation” means the solicitation of votes of those parties entitled to vote to
          9      accept or reject the Plan.

         10                     136. “Stamp or Similar Tax” means any stamp tax, recording tax, personal property
                 tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax, transaction
         11      privilege tax (including such taxes on prime contracting and owner-builder sales), privilege taxes
                 (including privilege taxes on construction contracting with regard to speculative builders and owner
         12      builders), and other similar taxes imposed or assessed by any Governmental Unit.
         13                       137. “Supplemental Contribution” means each of the additional Cash contributions
         14      to be paid by AAM to the Liquidation Trust, as set forth in the MTA and the Plan, in up to three (3)
                 installments of $5 million each until such time as AAM has contributed into a Conforming Escrow
         15      Account or directly to the Liquidation Trust a total amount of Cash (including the Initial Contribution,
                 but excluding any amounts paid by AAM toward OAD Expenses) equal to the lesser of: (i) $30
         16      million, or (ii) an amount sufficient to pay in full all Allowed General Unsecured Claims (other than
                 the subordinated AAM GUC).
         17

         18                     138. “Termination Date Expenses” means any OAD Expenses incurred on or before,
                 and that remain unpaid as of, the date the MTA terminates.
         19
                                139. “Tort Claims” means any and all claims or Causes of Action of the Debtor or
         20      its Estate against any of the Debtor’s current or former professionals, directors, officers, trustees,
                 managers and similar parties, including but not limited to any D&O Claims.
         21
                                 140. “Transition Period” means the period from the Operation Assumption Date
         22      until the Closing Date.
         23
                                 141. “Trust Expenses” means the costs, expenses, or other obligations incurred,
         24      payable or owed by the Liquidation Trust from and after the Effective Date, including the reasonable
                 fees, costs, and expenses of the Liquidation Trustee and his or her attorneys and other professionals,
         25      relating to, among other things, the implementation of the Plan and the administration of the
                 Liquidation Trust.
         26
                                142. “Undisputed OAD Expenses” means all OAD Expenses that remain due and
         27      unpaid as of the first day of a calendar month that are not subject to a bond fide dispute.
         28

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          1                     143. “Unexpired Lease” means a lease to which the Debtor is a party that is subject
                 to assumption, assignment, or rejection under section 365 of the Bankruptcy Code.
          2
                              144.       “Unimpaired” means not impaired within the meaning of section 1124 of the
          3
                 Bankruptcy Code.
          4
                                  145.   “Voting Classes” means Class 3 and Class 4 under this Plan.
          5
                                  146. “Voting Record Date” means the date for determining which Holders of Claims
          6      are entitled to receive the Disclosure Statement and vote to accept or reject this Plan, which date shall
                 be set by the Bankruptcy Court.
          7
                                                      ARTICLE II.
          8                              ADMINISTRATIVE AND PRIORITY TAX CLAIMS
          9
                 A.         Administrative Expense Claims
         10
                         On the later of the Effective Date or the date on which an Administrative Expense Claim
         11      becomes an Allowed Administrative Expense Claim or, in each such case, as soon as practicable
                 thereafter, each Holder of an Allowed Administrative Expense Claim will receive from the Debtor or
         12      the Liquidation Trust, as applicable, in full satisfaction, settlement, discharge and release of, and in
                 exchange for, such Claim either (i) payment in full in Cash for the unpaid portion of such Allowed
         13      Administrative Expense Claim; or (ii) such other less favorable treatment as agreed to in writing by
         14      the Liquidation Trustee and such Holder. So long as the MTA remains in effect, AAM shall either
                 pay directly, or provide funding to the Debtor sufficient to pay, all OAD Expenses and, to the extent
         15      AAM fails to timely fund the payment of an OAD Expense, such OAD Expense shall be paid from
                 the Escrow Account (which shall then be replenished for such drawn amount by AAM), in each case
         16      as required by the MTA, and as further described in Article V.B of the Plan. Allowed Administrative
                 Expense Claims that are not OAD Expenses shall be paid from Cash on Hand. Unless otherwise
         17
                 ordered by Final Order of the Bankruptcy Court, all Administrative Expense Claims must be
         18      Filed within forty-five (45) days after the Effective Date, and served on the Liquidation Trustee
                 and such other Entities who are designated by the Bankruptcy Rules, the Confirmation Order,
         19      or other order of the Bankruptcy Court. The failure to File a request for payment of an
                 Administrative Expense Claim on or before forty-five (45) days after the Effective Date shall
         20      result in such Administrative Expense Claim being forever Disallowed, barred, and expunged
                 in its entirety without further notice to any party, or action, approval, or order of the
         21
                 Bankruptcy Court.
         22
                         Professional Fee Claims. Professionals or other Entities asserting a Professional Fee Claim
         23      for services rendered through the Effective Date must File, within forty-five (45) days after the
                 Effective Date, and serve on the Liquidation Trustee, the United States Trustee, and such other Entities
         24      who are designated by the Bankruptcy Rules, the Confirmation Order, or other order of the Bankruptcy
                 Court, an application for final allowance of such Professional Fee Claim; provided that the Liquidation
         25      Trustee may pay Professionals in the ordinary course of business, for any work authorized by the
         26      Liquidation Trustee performed on and after the Effective Date, including those fees and expenses
                 incurred by Professionals in connection with the implementation and Consummation of the Plan, in
         27      each case without further application or notice to or order of the Bankruptcy Court in full, in Cash.
                 Once Allowed by the Bankruptcy Court, Professional Fee Claims incurred prior to the Effective Date
         28      shall be promptly paid from the Professional Fee Trust Account. If the amounts held in the

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          1      Professional Fee Trust Account are insufficient to pay all such Allowed Accrued Professional
                 Compensation in full in Cash, the Liquidation Trustee shall promptly pay any unpaid balance of such
          2      Allowed Accrued Professional Compensation from the Cash transferred to the Liquidation Trust on
          3      the Effective Date.

          4      B.         Priority Tax Claims

          5              On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if such
                 Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date, or (ii) the date on which
          6      such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an Allowed Priority
                 Tax Claim will receive in full satisfaction, settlement, discharge and release of, and in exchange for,
          7      such Allowed Priority Tax Claim, at the election of the Liquidation Trustee: (a) Cash in an amount
          8      equal to the amount of such Allowed Priority Tax Claim; or (b) such other less favorable treatment as
                 agreed to in writing by the Liquidation Trustee and such Holder. Allowed Priority Tax Claims will
          9      be paid from Cash on Hand.

         10                                             ARTICLE III.
                                             CLASSIFICATION AND TREATMENT OF
         11                                          CLASSIFIED CLAIMS
         12      A.         Summary
         13
                         All Claims, except Administrative Expense Claims (including Professional Fee Claims) and
         14      Priority Tax Claims, are placed in the Classes set forth below. In accordance with section 1123(a)(1)
                 of the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims have not been
         15      classified as described in Article III.F of the Plan.
         16              The categories of Claims listed below classify Claims for all purposes including voting,
                 confirmation, and distribution pursuant to the Plan and pursuant to sections 1122 and 1123(a)(1) of
         17
                 the Bankruptcy Code. The Plan deems a Claim to be classified in a particular Class only to the extent
         18      that the Claim qualifies within the description of that Class and will be deemed classified in a different
                 Class to the extent that any remainder of such Claim qualifies within the description of such different
         19      Class. A Claim is in a particular Class only to the extent that any such Claim is Allowed in that Class
                 and has not been paid, released, or otherwise settled prior to the Effective Date.
         20
                                        Summary of Classification and Treatment of Classified Claims
         21

         22           Class    Claim                              Status           Voting Rights
                      1        Other Priority Claims              Unimpaired       Deemed and Presumed to Accept
         23
                      2        Other Secured Claims               Unimpaired       Deemed and Presumed to Accept
         24           3        SAMC Secured Obligations           Impaired         Entitled to Vote
         25           4        General Unsecured Claims           Impaired         Entitled to Vote

         26      B.         Separate Classification of Certain Claims

         27              Although all Other Secured Claims have been placed in one Class for purposes of
                 nomenclature within this Plan, each Other Secured Claim, to the extent secured by a Lien on Collateral
         28      different from the Collateral securing a different Other Secured Claim, shall be treated as being in a
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          1      separate sub-Class for the purposes of voting to accept or reject this Plan and receiving Plan
                 Distributions.
          2
                        All General Unsecured Claims (or other classified Claims) have been placed in one Class for
          3
                 purposes of this Plan.
          4
                 C.         Elimination of Vacant Classes
          5
                         Any Class that, as of the commencement of the Confirmation Hearing, does not have at least
          6      one Holder of a Claim that is Allowed in an amount greater than zero for voting purposes shall be
                 considered vacant, deemed eliminated from this Plan for purposes of voting to accept or reject this
          7      Plan, and disregarded for purposes of determining whether this Plan satisfies section 1129(a)(8) of the
                 Bankruptcy Code with respect to such Class.
          8

          9      D.         Voting; Presumptions; Solicitation in Good Faith

         10              Only Holders of Allowed Claims in Classes 3 and 4 are entitled to vote to accept or reject this
                 Plan. Holders of Claims in these Voting Classes will receive Ballots containing detailed voting
         11      instructions.
         12              The Plan Proponent will solicit votes on the Plan from the Voting Classes in good faith and in
                 compliance with the applicable provisions of the Bankruptcy Code. Accordingly, the Plan Proponent
         13      and each of its Related Persons shall be entitled to, and upon the Confirmation Date will be granted,
         14      the protections of section 1125(e) of the Bankruptcy Code.

         15      E.         Cramdown

         16              If any Class of Claims is deemed and/or presumed to reject this Plan or is entitled to vote on
                 this Plan and does not vote to accept this Plan, the Plan Proponent intends to (i) seek confirmation of
         17      this Plan under section 1129(b) of the Bankruptcy Code, or (ii) amend or modify this Plan in
                 accordance with the terms hereof and the Bankruptcy Code. If a controversy arises as to whether any
         18
                 Claims, or any Class of Claims, are Impaired, the Bankruptcy Court shall, after notice and a hearing,
         19      determine such controversy on or before the Confirmation Date.

         20      F.         Classification and Treatment of Claims

         21                       1.     Class 1 – Other Priority Claims

         22                                    Classification: Class 1 consists of the Other Priority Claims.
         23                                    Treatment: The legal, equitable, and contractual rights of the Holders
         24                                     of Other Priority Claims are unaltered by the Plan. With respect to each
                                                Allowed Other Priority Claim, on or as soon as reasonably practicable
         25                                     after the later of (i) the Initial Distribution Date if such Other Priority
                                                Claim is an Allowed Other Priority Claim on the Effective Date, or (ii)
         26                                     the date on which such Other Priority Claim becomes an Allowed Other
                                                Priority Claim, each Holder of an Allowed Other Priority Claim will
         27                                     receive in full satisfaction, settlement, discharge, and release of, and in
         28                                     exchange for, such Allowed Other Priority Claim, at the election of the
                                                Liquidation Trustee: (A) Cash equal to the amount of such Allowed
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          1                             Other Priority Claim; (B) such other less favorable treatment as to which
                                        the Liquidation Trustee and the Holder of such Allowed Other Priority
          2                             Claim will have agreed upon in writing; or (C) such other treatment such
          3                             that it will not be Impaired. Allowed Other Priority Claims will be paid
                                        from Cash on Hand unless otherwise agreed to by the Holder of such
          4                             Claim.

          5                            Impairment and Voting: Class 1 is an Unimpaired Class and the Holders
                                        of Other Priority Claims are conclusively deemed and presumed to
          6                             accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.
                                        Therefore, the Holders of Other Priority Claims will not be entitled to
          7
                                        vote to accept or reject the Plan and will not be solicited.
          8
                            2.   Class 2 – Other Secured Claims
          9
                                       Classification: Class 2 consists of the Other Secured Claims. This Class
         10                             will be further divided into subclasses designated by letters of the
                                        alphabet (Class 2A, Class 2B and so on), so that each Holder of any
         11                             Allowed Other Secured Claim against the Debtor is in a Class by itself,
         12                             except to the extent that there are Other Secured Claims that are
                                        substantially similar to each other and may be included within a single
         13                             Class.

         14                            Treatment: The legal, equitable, and contractual rights of the Holders of
                                        Other Secured Claims are unaltered by the Plan. With respect to each
         15                             Allowed Other Secured Claim, on or as soon as reasonably practicable
         16                             after the later of (i) the Initial Distribution Date if such Other Secured
                                        Claim is an Allowed Other Secured Claim on the Effective Date, or (ii)
         17                             the date on which such Other Secured Claim becomes an Allowed Other
                                        Secured Claim, each Holder of an Allowed Other Secured Claim will
         18                             receive in full satisfaction, settlement, discharge, and release of, and in
                                        exchange for, such Allowed Other Secured Claim, at the election of the
         19                             Liquidation Trustee: (A) Cash equal to the amount of such Allowed
         20                             Other Secured Claim; (B) return of the Collateral securing such Allowed
                                        Other Secured Claim; (C) such other less favorable treatment as to
         21                             which the Liquidation Trustee and the Holder of such Allowed Other
                                        Secured Claim will have agreed upon in writing; (D) any defaults shall
         22                             be cured and shall be paid or satisfied in accordance with and pursuant
                                        to the terms of the applicable agreement between the Liquidation
         23
                                        Trustee and the Holder of the Allowed Other Secured Claim and such
         24                             Claim shall be Reinstated; or (E) Reinstatement or such other treatment
                                        such that it will not be Impaired.
         25
                                       Impairment and Voting: Class 2 is an Unimpaired Class and the Holders
         26                             of Other Secured Claims are conclusively deemed and presumed to
                                        accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.
         27
                                        Therefore, the Holders of Other Secured Claims will not be entitled to
         28                             vote to accept or reject the Plan and will not be solicited.

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          1                 3.   Class 3 – SAMC Secured Obligations
          2                           Classification: Class 3 consists of SAMC Secured Obligations.
          3
                                      Allowance: The SAMC Secured Obligation shall be allowed in an
          4                            aggregate principal amount (plus accrued and unpaid interest through
                                       January 1, 2024) of $2,323,485 plus unpaid fees and interest that accrue
          5                            from January 2, 2024 through the Effective Date, which represents the
                                       outstanding portion of the SAMC Secured Obligations.
          6
                                      Treatment: On the Effective Date, and in exchange for a waiver and
          7                            release of any and all claims or Causes of Action asserted or assertable
          8                            against SAMC by the Debtor, the Estate, the Committee, the
                                       Liquidation Trust or the Liquidation Trustee (as further described in
          9                            Article X.B of this Plan), the SAMC Secured Obligations shall receive
                                       a distribution in the amount (the “SAMC Distribution Amount”) equal
         10                            to the sum of: (a) $2,230,546, plus (b) any interest, fees and expenses,
                                       accrued between January 2, 2024 and the Effective Date, that remain
         11
                                       due and owing as of the Effective Date. On or before the Expense
         12                            Payment Deadline of each calendar month, a portion of the One Million
                                       Deposit shall be released to the Debtor in an amount sufficient to pay
         13                            certain interest and expenses associated with the Allowed SAMC
                                       Secured Obligations that accrued during the prior calendar month and
         14                            shall be immediately applied by the Debtor solely to pay such interest
                                       and expenses (and thereby reducing the SAMC Distribution Amount to
         15
                                       the extent paid from the One Million Deposit). The balance of the
         16                            Allowed SAMC Secured Obligations shall be paid on the Effective Date
                                       from Cash on Hand, unless otherwise agreed to by the Holder of such
         17                            Allowed SAMC Secured Obligation.
         18                           Impairment and Voting: Class 3 is an Impaired Class and the Holders
                                       of SAMC Secured Obligations are entitled to vote to accept or reject the
         19
                                       Plan.
         20
                            4.   Class 4 – General Unsecured Claims
         21
                                      Classification: Class 4 consists of the General Unsecured Claims.
         22
                                      Treatment: As soon as practicable after the Effective Date, each Holder
         23                            of an Allowed General Unsecured Claim shall receive, in full
                                       satisfaction, settlement, discharge, and release of, and in exchange for,
         24
                                       such Allowed General Unsecured Claim (unless the applicable Holder
         25                            agrees to a less favorable treatment), its Pro Rata share of Liquidation
                                       Trust Interests, which shall entitle such Holder to its Pro Rata Share of
         26                            the Liquidation Trust Assets. The Liquidation Trust Assets shall
                                       initially consist of, inter alia: (i) any Cash on Hand (including the $15
         27                            million Initial Contribution); (ii) the Estate Personal Assets; (iii) any
         28                            Excess Professional Fee Trust Amount; (iv) the D&O Liability
                                       Insurance Policies; (v) the Retained Causes of Action (including, but
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          1                                     not limited to, Tort Claims and D&O Claims); and (vi) the proceeds of
                                                the foregoing. Plan Distributions on account of such Liquidation Trust
          2                                     Assets shall be made on or as soon as reasonably practicable after the
          3                                     later of: (i) the Initial Distribution Date if such General Unsecured
                                                Claim is Allowed on the Effective Date, or (ii) the date on which such
          4                                     General Unsecured Claim becomes an Allowed General Unsecured
                                                Claim.
          5
                                               Impairment and Voting: Class 4 is an Impaired Class and the Holders
          6                                     of General Unsecured Claims are entitled to vote to accept or reject the
                                                Plan.
          7

          8      G.         Special Provision Governing Unimpaired Claims

          9              Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s, the
                 Committee’s or the Liquidation Trustee’s rights in respect of any Unimpaired Claims, including all
         10      rights in respect of legal and equitable defenses to or setoffs or recoupments against any such
                 Unimpaired Claims, including the right to cure any arrears or defaults that may exist with respect to
         11      Executory Contracts or Unexpired Leases to be assumed under the Plan.
         12
                 H.         Special Provision Governing Cash Paid to SAMC
         13
                        Notwithstanding anything to the contrary in the Plan, the Debtor (and the Committee) waive
         14      any rights in respect of legal and equitable claims of setoff or recoupment as they relate to any cash
                 payments made to SAMC during the course of the chapter 11 case and any distributions made on
         15      account of SAMC Secured Obligations under this Plan.
         16      I.         Subordinated Claims
         17              The allowance, classification, and treatment of all Claims under the Plan shall take into account
         18      and conform to the contractual, legal, and equitable subordination rights relating thereto, whether
                 arising under general principles of equitable subordination, section 510(a) of the Bankruptcy Code,
         19      section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code,
                 the Debtor and the Liquidation Trustee reserve the right to re-classify, or to seek to subordinate, any
         20      Claim in accordance with any contractual, legal, or equitable subordination relating thereto, and the
                 treatment afforded any Claim under the Plan that becomes a subordinated Claim at any time shall be
         21      modified to reflect such subordination.
         22
                                                     ARTICLE IV.
         23                              ACCEPTANCE OR REJECTION OF THE PLAN

         24      A.         Deemed and Presumed Acceptance of Plan

         25            Classes 1 and 2 are Unimpaired under the Plan and are therefore conclusively deemed and
                 presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.
         26

         27

         28

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          1      B.         Reserved
          2      C.         Voting Classes
          3              Subject to the provisions of any order approving the Disclosure Statement, each Holder of an
          4      Allowed Claim, as of the applicable Voting Record Date, in the Voting Classes (Classes 3 and 4) will
                 be entitled to vote to accept or reject the Plan.
          5
                 D.         Controversy Concerning Impairment
          6
                        In the event of any controversy as to whether any Holder of an Allowed Claim or Class is
          7      Impaired under the Plan, the Bankruptcy Court shall, after notice and a hearing, determine such
                 controversy.
          8
                 E.         Acceptance by Impaired Classes of Claims
          9

         10              Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in
                 section 1126(e) of the Bankruptcy Code, an Impaired Class (or, as applicable sub-class) of Claims has
         11      accepted the Plan if the Holders of at least two-thirds in dollar amount and more than one-half in
                 number of the Allowed Claims actually voting in such Class (or, as applicable, sub-class) voted to
         12      accept the Plan. An Impaired Class of Claims for which no Holder votes to accept or reject the Plan
                 shall be deemed to have rejected the Plan.
         13
                 F.         Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code
         14

         15              The Plan Proponent shall seek confirmation of the Plan under section 1129(b) of the
                 Bankruptcy Code with respect to any Impaired Class (or, as applicable, sub-class) that does not accept
         16      the Plan pursuant to section 1126 of the Bankruptcy Code. The Plan Proponent reserves the right to
                 amend, revoke, modify, or withdraw the Plan or any amendment, supplement, or Exhibit thereto, or
         17      the Plan Supplement in order to satisfy the requirements of section 1129(b) of the Bankruptcy Code,
                 if necessary.
         18

         19                                           ARTICLE V.
                                         MEANS FOR IMPLEMENTATION OF THE PLAN
         20
                 A.         Overview
         21
                        This Plan provides for: (a) the formation of the Liquidation Trust; (b) the disposition of
         22      substantially all the Assets of the Debtor and its Estate and the distribution of the net proceeds thereof
                 to Holders of Allowed Claims, consistent with the priority provisions of the Bankruptcy Code; (c) the
         23      winding down of the Debtor and its affairs by the Liquidation Trustee; and (d) the creation of a
         24      mechanism for the Liquidation Trustee to pursue, litigate, waive, settle, and compromise Causes of
                 Action (including, but not limited to, D&O Claims and Tort Claims) to maximize Creditor recoveries.
         25
                        The Plan also provides that, unless AAM elects to terminate the MSA on or before the
         26      Commitment Deadline, and subject to the Plan being confirmed on or before the Plan Confirmation
                 Deadline, AAM shall contribute up to $30 million in Cash to fund the Liquidation Trust for the benefit
         27      of Holders of Allowed General Unsecured Claims in exchange for the sale to Buyer of: (i) the Real
                 Property Asset (memorialized in an asset purchase agreement that is substantially similar to the form
         28
                 attached as Exhibit B to the MTA), and (ii) at the election of AAM, the transition of the Hospital
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          1      Assets to Buyer (memorialized in an asset purchase agreement that is substantially similar to the form
                 attached as Exhibit C to the MTA). To the extent these transactions are terminated, the Plan enables
          2      the Committee to pursue and consummate a Liquidation Transaction if, at any time before the Effective
          3      Date, it determines in its sole discretion that consummation of such Liquidation Transaction is in the
                 best interests of the Estate and Creditors.
          4
                         In addition, in the event that AAM terminates the MTA, AAM shall submit to the Debtor (or
          5      if the Plan has been confirmed, the Liquidation Trustee) a binding $3 million stalking horse bid for
                 the Real Property Asset if requested to do so by the Committee (or if a Plan has been confirmed, the
          6      Liquidation Trustee).
          7      B.         The MTA & MSA
          8
                         Purpose. AAM is dedicated under the MTA to the reopening of Hospital under the terms set
          9      forth in the MTA. It is AAM’s intention to assist Hospital in its reopening and continued operations
                 under the MSA, until the parties can transition the operations and ownership of the Hospital Assets to
         10      AAM, by which AAM will continue the delivery of health care for the benefit of communities served
                 by the Debtor.
         11
                         Management of the Hospital. Under the MSA, AAM will act as the Debtor’s agent for, among
         12      other things: (i) applying for a change of ownership with the CDPH; (ii) applying for funding under
         13      the California Distressed Hospital Loan Program pursuant to California Health and Safety Code
                 Sections 129380 et seq.; and (iii) applying for the necessary approvals with the California Attorney
         14      General’s Nonprofit Health Facilities division.

         15             AAM’s Option to Acquire Hospital. At its election, but no later than thirty-six (36) months after
                 the MTA Execution Date, AAM may elect (in its sole discretion) to submit a CHOW Application for
         16      change of ownership or transfer of membership interests to CDPH to effect a change in licensed
         17      operator of the Hospital from the Debtor to AAM. The date of CDPH’s approval of the CHOW
                 Application shall be the date on which ownership of the Hospital Assets shall be transferred from the
         18      Debtor to Manager.

         19            Transition Period. During the Transition Period, AAM shall provide the Debtor with certain
                 management and administrative services in support of the Hospital’s operations as identified in the
         20      MTA and MSA.
         21             Post-Closing Date. After the Closing Date, AAM will operate the Hospital pursuant to its own
         22      acute care health facility license issued by CDPH pursuant to the approved CHOW Application, and
                 the Debtor will cease to operate the Hospital.
         23
                            Transition of Facilities.
         24
                            (i)    Assumption of Financial Responsibility: Immediately upon the occurrence of the
         25                        Operation Assumption Date, AAM shall assume all financial responsibility for the
                                   Hospital’s operations.
         26
                            (ii)   Payment of Expenses: AAM shall provide funding to the Hospital sufficient for the
         27
                                   Hospital to pay all OAD Expenses; provided that AAM’s obligation to fund the OAD
         28                        Expenses shall not apply to expenses accruing after termination of the MSA.

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          1                 (iii)   Retention of Revenue by AAM: Any and all OAD Revenues shall be the sole and
                                    exclusive property of AAM.
          2
                            (iv)    Retention of Property by Debtor: All Estate Personal Assets shall remain the property
          3
                                    of the Debtor’s Estate, available to pay the Claims of all of the Debtor’s Creditors and
          4                         shall not be: (i) subject to the MSA; (ii) transferred or otherwise hypothecated,
                                    encumbered (except as such encumbrance existed on the Petition Date) or otherwise
          5                         affected by the MSA or the transactions contemplated therein or in the MTA; or (iii)
                                    impaired, impacted or otherwise affected by AAM or any affiliate thereof.
          6
                            (v)     Distressed Hospital Loan Program Funds: Notwithstanding anything to the contrary
          7                         in this Plan, any DHLP Funds shall be applied solely to fund operation of the Hospital
          8                         so long as it continues to operate.

          9                 (vi)    Allowance of AAM GUC: Subject to the Bankruptcy Court’s approval of the MTA,
                                    AAM shall be deemed to have an Allowed General Unsecured Claim in an amount
         10                         equal to the OAD Expenses that it funds out-of-pocket minus the OAD Revenues (the
                                    “AAM GUC”); provided, however, that beginning on the DHLP Funds Receipt Date,
         11                         no further OAD Expenses shall be added to the calculation of the AAM GUC except
                                    to the extent that the total OAD Expenses incurred after the DHLP Funds Receipt Date
         12
                                    exceeds the total amount of DHLP Funds received by the Hospital. For the avoidance
         13                         of doubt, the AAM GUC shall be subordinated in all respects to all other Allowed
                                    General Unsecured Claims and shall only be payable upon the payment in full (without
         14                         interest) of all Allowed General Unsecured Claims (other than the AAM GUC), except
                                    as set forth below in “Treatment of Claims”.
         15
                         Treatment of Claims. The net proceeds from the Estate Personal Assets and the Real Property
         16
                 Asset shall be used to pay Allowed Claims pursuant to the priorities set forth in the Bankruptcy Code
         17      and in accordance with the terms of this Plan. To the extent that the Hospital resumes operations and
                 is sold or otherwise transitioned to a third party as an operating hospital either through a sale motion,
         18      a plan of reorganization, a management agreement, or in any other manner, the AAM GUC shall be
                 treated as an Allowed Administrative Expense Claim payable solely from such proceeds of the sale of
         19      the Hospital (but shall not be payable from the proceeds of any Estate Personal Assets unless all
                 Allowed General Unsecured Claims have been paid in full, without interest).
         20

         21                 Sale of Real Property Asset and Hospital Assets.

         22                 (i)     Liquidation Trust: Unless it elects to terminate the MSA pursuant to Paragraph 6
                                    thereof on or before the Commitment Deadline, AAM shall contribute the AAM Cash
         23                         Contribution, subject to the terms of the MTA and this Plan, to fund the Liquidation
                                    Trust for the benefit of Holders of Allowed General Unsecured Claims in exchange for
         24                         the sale to Buyer of: (1) the Real Property Asset (memorialized in an asset purchase
                                    agreement that is substantially similar to the form attached as Exhibit B to the MTA),
         25
                                    and (2) at the election of AAM, the transition of the Hospital Assets to Buyer
         26                         (memorialized in an asset purchase agreement that is substantially similar to the form
                                    attached as Exhibit C to the MTA).
         27
                            (ii)    Funding of AAM Cash Contribution: The AAM Cash Contribution shall be funded as
         28                         follows:

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          1                         a. Upon the Bankruptcy Court’s approval of the Debtor’s entry into the MSA and such
                                       order becoming a Final Order, AAM shall immediately deposit into the Escrow
          2                            Account the Initial Contribution.
          3
                                    b. Replenishment of Escrow: On or before the Effective Date, AAM shall deposit into
          4                            the Escrow Account an amount sufficient such that, as of the occurrence of the
                                       Effective Date, the Initial Contribution held in the Escrow Account is no less than
          5                            $15 million.

          6                         c. Immediately upon the Effective Date, the Initial Contribution shall be released from
                                       the Escrow Account to be transferred to the Liquidation Trustee.
          7
                                    d. The balance of the AAM Cash Contribution shall be paid by AAM to the
          8
                                       Liquidation Trust in up to three (3) Supplemental Contributions until such time as
          9                            AAM has contributed into the Escrow Account or directly to the Liquidation Trust
                                       a total amount of Cash (including the Initial Contribution, but excluding any
         10                            amounts paid by AAM toward OAD Expenses) equal to the lesser of: (i) $30
                                       million, or (ii) an amount sufficient to pay in full all Allowed General Unsecured
         11                            Claims (other than the subordinated AAM GUC). The Supplemental Contributions
                                       shall be paid by AAM to the Liquidation Trust according to the following schedule:
         12

         13                              Supplemental        Contribution Deadline for Payment to Liquidation Trustee
                                         Schedule
         14

         15                              1st $5 million Supplemental Within seven (7) days after written notice
                                         Contribution                from the Liquidation Trustee that at least $15
         16                                                          million has been distributed to Holders of
                                                                     Allowed General Unsecured Claims and/or
         17                                                          applied to pay professional or other expenses
                                                                     of the Liquidation Trust.
         18
                                         2nd $5 million Supplemental Within seven (7) days after written notice
         19                              Contribution                from the Liquidation Trustee that at least $20
                                                                     million has been distributed to Holders of
         20                                                          Allowed General Unsecured Claims and/or
                                                                     applied to pay professional or other expenses
         21                                                          of the Liquidation Trust.
         22                              3rd $5 million Supplemental Within seven (7) days after written notice
                                         Contribution                from the Liquidation Trustee that at least $25
         23                                                          million has been distributed to Holders of
                                                                     Allowed General Unsecured Claims and/or
         24                                                          applied to pay professional or other expenses
         25                                                          of the Liquidation Trust.

         26                 (iii)   AAM Contribution Lien: AAM’s obligation to pay the AAM Cash Contribution shall
                                    be secured by the AAM Contribution Lien. Upon the Liquidation Trust’s receipt of the
         27                         full amount of the AAM Cash Contribution, the AAM Contribution Lien shall be
                                    deemed released and the Liquidation Trustee shall (at AAM’s request) execute requisite
         28
                                    documentation to evidence release of the AAM Contribution Lien.
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          1                 (iv)    Surplus Funds: To the extent that, after paying all Allowed Administrative Expense
                                    Claims, Allowed Priority Tax Claims, Allowed Priority Claims, Allowed Other
          2                         Secured Claims, Allowed SAMC Secured Obligations, and Allowed General
          3                         Unsecured Claims in full, the Debtor’s estate has remaining Assets, all such remaining
                                    Assets (including, but not limited to, the Estate Personal Assets) shall be the sole and
          4                         exclusive property of AAM. Notwithstanding anything to the contrary contained in the
                                    Plan, the MTA, or otherwise, this provision shall not apply to any DHLP Funds.
          5
                            (v)     Sale of Real Property Asset: The sale of the Real Property Asset to Buyer shall be, and
          6                         shall be deemed, effective immediately upon: (a) the Effective Date, and (b) the release
                                    of the Initial Contribution from the Escrow Account and the deposit of such funds into
          7
                                    the Liquidation Trust. As additional consideration for AAM’s purchase of the Real
          8                         Property Asset, AAM shall contribute the remainder of the AAM Cash Contribution to
                                    the Liquidation Trust in accordance with the terms of the Plan and Paragraph 3.b. of
          9                         the MTA.
         10                 (vi)    CHOW Election: AAM shall have the option, in its sole discretion, to submit a CHOW
                                    Application to CDPH to effect a change in licensed operator of the Hospital from the
         11                         Debtor to AAM within thirty-six (36) months of the MTA Effective Date.
         12
                            (vii)   Transfer of Hospital Assets: Subject to AAM exercising the CHOW Election, the
         13                         transfer of the Hospital Assets to Buyer shall be, and shall be deemed, effective
                                    immediately upon: (a) CDPH’s approval of such timely-submitted CHOW
         14                         Application; and (b) Buyer’s payment to the Debtor of $1.00.1
         15               Additional Payments. Upon the Bankruptcy Court’s approval of the Debtor’s entry into the
                 MSA and such order becoming a Final Order, AAM shall (i) assume the liability for the unused portion
         16
                 of the $2 million bridge loan and for any other amounts loaned to the Hospital by HCAI in connection
         17      with AB112; and (ii) immediately deposit the One Million Deposit into the Escrow Account for the
                 payment of all interest and related expenses associated with any Allowed SAMC Secured Obligations
         18      until (a) the MSA is terminated; (b) all Allowed SAMC Secured Obligations have been paid in full;
                 or (c) the Plan Confirmation Deadline. On or before the Expense Payment Deadline of each calendar
         19      month: (a) funds held in the Escrow Account shall be released to the Debtor in an amount sufficient
                 to pay all Undisputed OAD Expenses that were due and unpaid as of the first day of the prior calendar
         20
                 month (and as to which AAM has not provided to the Committee (or, if appointed pursuant to the Plan,
         21      the Liquidation Trustee) proof of payment prior to the Expense Payment Deadline) and shall be
                 immediately applied by the Debtor solely to pay such Undisputed OAD Expenses and (b) a portion of
         22      the One Million Deposit shall be released to the Debtor in an amount sufficient to pay all interest and
                 related expenses associated with any Allowed SAMC Secured Obligations that accrued during the
         23      prior calendar month, and shall be immediately applied by the Debtor solely to pay such interest and
                 related expenses. The consideration due from AAM pursuant to this provision is in addition to the
         24
                 AAM Cash Contribution and shall not be credited against, nor in any way reduce, the AAM
         25      Contribution due in accordance with the terms of the MTA or this Plan. Upon payment in full of all
                 Allowed SAMC Secured Obligations, any unused balance of the One Million Deposit shall be applied
         26      in the following priority: first, to fund the Initial Contribution, second, to fund each Supplemental
         27
                 1
                  For the avoidance of doubt, the $1.00 sale price is in addition to consideration provided by AAM to the Debtor under the
         28
                 MSA, payment of the Initial Contribution, and AAM’s obligation to fund the remainder of the AAM Cash Contribution.

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          1      Contribution sequentially, and, third, after all of AAM’s obligations to fund the Initial Contribution
                 and the Supplemental Contributions have been satisfied in full, to be repaid to AAM.
          2
                            Termination of the MSA and MTA.
          3

          4                 (i)     AAM Right to Terminate on or Before Commitment Deadline: AAM shall have the right
                                    to terminate the MSA and MTA in its sole and absolute discretion on or before the
          5                         Commitment Deadline. If the Bankruptcy Court enters an order approving the MSA
                                    after the MSA Approval Deadline, the Commitment Deadline shall be extended by an
          6                         amount of days equal to the number of days that fall between the MSA Approval
                                    Deadline and the MSA Approval Order Date.
          7
                            (ii)    AAM Right to Terminate if Plan Not Timely Confirmed: If the Bankruptcy Court does
          8
                                    not confirm the Plan by the Plan Confirmation Deadline, AAM shall have the option
          9                         during the seven (7) days immediately following the Plan Confirmation Deadline,
                                    exercisable in its sole and absolute discretion, to terminate the MSA and MTA by
         10                         providing written notice of termination to counsel for the Debtor and the Committee.
                                    The Plan Confirmation Deadline may be extended by AAM or by order of the
         11                         Bankruptcy Court.
         12                 (iii)   Debtor Right to Terminate: Debtor shall have the right to terminate the MSA and MTA,
         13                         in its sole and absolute discretion, by written notice to AAM, if (a) the Commitment
                                    Deadline has passed and (b) at the time such written notice of termination is delivered
         14                         to AAM, HCAI has not confirmed in writing its commitment to loan at least $50 million
                                    of DHLP Funds to the Hospital.
         15
                            (iv)    Termination for Cause: Either party may terminate the MSA and MTA for Cause upon
         16                         written notice to the other party specifying the basis for the termination.
         17
                                    a. Under the MTA, “Cause” means any of the following: (i) a material breach of any
         18                            of the terms of the MTA by the other party that is not cured within seven (7) days
                                       after written notice of the breach; or (ii) the other party’s engaging in any illegal or
         19                            fraudulent activity that materially affects the other party’s ability to perform under
                                       the MTA.
         20
                                    b. Under the MSA, “Cause” means any of the following: (i) a material breach of any
         21                            of the terms of the MSA by the other party that is not cured within sixty (60) days
         22                            after written notice of the breach; or (ii) the other party’s engaging in any illegal or
                                       fraudulent activity that materially affects the other party’s ability to perform under
         23                            the MSA; or (iii) the MTA having been terminated in accordance with its terms by
                                       any party thereto.
         24
                            (v)     Effect of Termination: Upon the termination of the MTA for any reasons, any portion
         25                         of the Initial Contribution or the One Million Deposit remaining in the Escrow Account
                                    shall be applied in the following order: first, to (i) pay Termination Date Expenses or
         26
                                    (ii) deposit with the Liquidation Trustee an amount sufficient to pay all Termination
         27                         Date Expenses, and, second, to refund to AAM any funds remaining in the Escrow
                                    Account after all OAD Expenses have been paid in full. This provision shall survive
         28                         termination of the MTA.

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          1                 Uses of Escrowed Funds.
          2                 (i)    Until the earlier of (a) the Effective Date, or (b) the first date on which (i) the MTA has
                                   been terminated and (ii) all OAD Expenses incurred by the Hospital during the
          3
                                   Transition Period have been paid in full, the Initial Contribution shall be held in the
          4                        Escrow Account as security for AAM’s obligations to (a) pay OAD Expenses and (b)
                                   pay the first $15 million of the AAM Cash Contribution.
          5
                            (ii)   The One Million Deposit shall be held in the Escrow Account as security for AAM’s
          6                        obligations to (a) pay OAD Expenses, (b) pay all interest and related expenses
                                   associated with the SAMC Secured Obligations, and (c) pay the first $15 million of the
          7                        AAM Cash Contribution.
          8
                         Alternative Proposal. In the event that AAM terminates the MTA in accordance with the terms
          9      thereof, AAM will submit to the Debtor (or, if the Plan has been confirmed, the Liquidation Trustee)
                 a binding $3 million stalking horse bid for the Real Property Asset if requested to do so by the
         10      Committee (or, if a Plan has been confirmed, the Liquidation Trustee).
         11      C.         Pivot to a Liquidation Transaction
         12              In the event that the MTA is terminated in accordance with its terms, the Committee reserves
                 the right, in its sole discretion, at any time prior to the Effective Date, to pursue and consummate a
         13
                 Liquidation Transaction, if it determines in its sole discretion that consummation of such a Liquidation
         14      Transaction is in the best interests of the Estate and Creditors; provided that any such Liquidation
                 Transaction shall provide: (a) the same “Treatment” of SAMC Secured Obligations as specified in
         15      Article III.F.3 of this Plan, and (b) for the SAMC Secured Obligations to be paid in full in Cash as
                 soon as reasonably practicable after the effective date of such Liquidation Transaction.
         16
                 D.         General Settlement of Claims
         17

         18              Pursuant to section 1123 of the Bankruptcy Code, and in consideration for the classification,
                 distributions, releases, and other benefits provided under the Plan, upon the Effective Date, the
         19      provisions of the Plan will constitute a good-faith compromise and settlement of all Claims and
                 controversies resolved pursuant to the Plan. The entry of the Confirmation Order shall constitute the
         20      Bankruptcy Court’s approval of the compromise or settlement of all such Claims, as well as a finding
                 by the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtor, the
         21      Estate, and Holders of Claims, and is fair, equitable, and reasonable. Except as otherwise expressly
         22      provided in the Plan, any and all claims and Causes of Action of the Debtor and the Estate are
                 preserved under the Plan.
         23
                 E.         Continued Existence of the Debtor and Vesting of Assets in Liquidation Trust
         24
                          On and after the Effective Date, subject to the requirements of the Plan, the Debtor will
         25      continue to exist as a separate corporation, and shall retain all of the powers of a corporation under
                 applicable non-bankruptcy law, and without prejudice to any right to amend its articles of
         26      incorporation, dissolve, merge, or convert into another form of business entity, or to alter or terminate
         27      its existence. The Liquidation Trustee shall be deemed to have been admitted as the sole director of
                 the Debtor under applicable non-bankruptcy law and shall be authorized to exercise all of the rights
         28      and powers of a sole director as provided by the Plan.

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          1              Neither the occurrence of the Effective Date, nor the effectiveness of this Plan, nor any
                 provision of applicable non-bankruptcy law shall cause a dissolution of the Debtor, which shall
          2      continue as a corporation, under the control of the Liquidation Trustee following the Effective Date
          3      subject to the terms of the Plan.

          4              Except as otherwise provided in this Plan, on and after the Effective Date, all Distributable
                 Assets and property of the Debtor and its Estate, including any Causes of Action (including, but not
          5      limited to, Tort Claims and D&O Claims), will vest in the Liquidation Trust free and clear of all
                 Claims, Liens, charges, and other encumbrances. Notwithstanding the foregoing, the Plan Proponent
          6      reserves the right to modify the Plan to exclude certain Assets from transfer to the Liquidation Trust
                 as necessary to preserve rights and claims of the Estate and maximize value for Creditors. The
          7
                 Confirmation Order shall constitute a determination that the transfers of the Liquidation Trust Assets
          8      to the Liquidation Trust are legal and valid and consistent with applicable law, including applicable
                 state law.
          9
                          All parties shall execute any documents or other instruments as necessary to cause title to the
         10      applicable Assets to be transferred to the Liquidation Trust. The Liquidation Trust Assets will be held
                 in trust for the benefit of all Liquidation Trust Beneficiaries pursuant to the terms of the Plan and the
         11      Liquidation Trust Agreement.
         12
                 F.         Corporate Action
         13
                         On the Effective Date, the matters under the Plan involving or requiring corporate action of
         14      the Debtor, including but not limited to actions requiring a vote or other approval of the board of
                 directors, managers, members, partners or trustees of the Debtor or the execution of any documentation
         15      incident to or in furtherance of the Plan, shall be deemed to have been authorized by the Confirmation
                 Order and to have occurred and be in effect from and after the Effective Date without any further
         16
                 action by the Bankruptcy Court or the managers, members, directors, officers or trustees of the Debtor.
         17
                         Without limiting the generality of the foregoing, except as otherwise provided in the Plan and
         18      the MSA and MTA (to the extent such agreements remain in effect), on the Effective Date and
                 automatically and without further action: (i) any existing manager, director, officer, or trustee of the
         19      Debtor will be deemed to have resigned on the Effective Date without any further corporate action;
                 (ii) the Liquidation Trustee shall be deemed the sole manager, director, officer, trustee and
         20      representative of the Debtor to exercise the rights, power, and authority of the Debtor under applicable
         21      provisions of this Plan and bankruptcy and non-bankruptcy law; and (iii) all matters provided under
                 this Plan shall be deemed to be authorized and approved without further approval from the Bankruptcy
         22      Court. The Confirmation Order shall act as an order modifying the Debtor’s articles of incorporation,
                 such that the provisions of this Plan can be effectuated. The Plan shall be administered by the
         23      Liquidation Trustee, and all actions taken thereunder in the name of the Debtor shall be taken through
                 the Liquidation Trustee. All corporate governance activities of the Debtor shall be exercised by the
         24      Liquidation Trustee in his or her discretion, subject to the terms of this Plan.
         25
                         On and after the Effective Date, the Liquidation Trustee may, in the name of the Debtor, take
         26      such actions without supervision or approval by the Bankruptcy Court and free of any restrictions of
                 the Bankruptcy Code or the Bankruptcy Rules, other than any restrictions expressly imposed by the
         27      Plan, the Confirmation Order or the Liquidation Trust Agreement. Without limiting the foregoing,
                 the Liquidation Trustee may pay all reasonable Trust Expenses in the ordinary course of business
         28      without further notice to Creditors or Holders or approval of the Bankruptcy Court.
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          1      G.         Liquidation Trust
          2             Prior to the Effective Date, the Debtor shall execute the Liquidation Trust Agreement. The
                 Liquidation Trust Agreement shall contain provisions customary to trust agreements utilized in
          3
                 comparable circumstances, including, but not limited to, any and all provisions necessary to ensure
          4      the continued treatment of the Liquidation Trust as a grantor trust.

          5               On the Effective Date, the Liquidation Trust shall be established pursuant to the Liquidation
                 Trust Agreement for the purpose of maximizing the value of the Liquidation Trust Assets, which shall
          6      initially consist of the Distributable Assets, and effectuating Plan Distributions to Creditors consistent
                 with the Plan. The Liquidation Trust is intended to qualify as a liquidating trust pursuant to United
          7      States Treasury Regulation Article 301.7701-4(d) and IRS Revenue Procedure 94-45, 1994-2 C.B.
          8      124, with no objective to continue or engage in the conduct of a trade or business, except to the extent
                 reasonably necessary to, and consistent with, the liquidation purpose of the Liquidation Trust.
          9
                         On the Effective Date, the Liquidation Trust Assets shall vest automatically in the Liquidation
         10      Trust. The transfer of the Liquidation Trust Assets to the Liquidation Trust shall be made for the
                 benefit and on behalf of the Liquidation Trust Beneficiaries. The assets comprising the Liquidation
         11      Trust Assets will be treated for tax purposes as being transferred by the Debtor to the Liquidation Trust
                 Beneficiaries pursuant to the Plan in exchange for their Allowed Claims and then by the Liquidation
         12
                 Trust Beneficiaries to the Liquidation Trust in exchange for the Liquidation Trust Interests in the
         13      Liquidation Trust. The Liquidation Trust Beneficiaries shall be treated as the grantors and owners of
                 the Liquidation Trust. Upon the transfer of the Liquidation Trust Assets, the Liquidation Trust shall
         14      succeed to all of the Debtor’s rights, title, and interest in the Liquidation Trust Assets, and the Debtor
                 will have no further interest in or with respect to the Liquidation Trust Assets.
         15
                         In pursuing any Causes of Action, the Liquidation Trustee shall be entitled to the tolling
         16
                 provisions provided under section 108 of the Bankruptcy Code and shall succeed to the Debtor’s rights
         17      with respect to the periods in which any of the Causes of Action may be brought under section 546 of
                 the Bankruptcy Code. The Liquidation Trust Agreement will require consistent valuation of the
         18      Liquidation Trust Assets by the Liquidation Trustee and the Liquidation Trust Beneficiaries for all
                 U.S. federal and other income tax and reporting purposes. The Liquidation Trust will not be permitted
         19      to receive or retain Cash in excess of a reasonable amount to meet claims and contingent liabilities or
                 to maintain the value of the Liquidation Trust Assets.
         20

         21              In connection with the prosecution of the Causes of Action, any attorney-client privilege, work-
                 product privilege, joint interest privilege or other privilege or immunity attaching to any prepetition
         22      and/or pre-Effective Date documents or communications relating to the Causes of Action shall be
                 transferred to and shall vest in the Liquidation Trust. The Liquidation Trust’s receipt of such privileges
         23      or immunities associated with the Causes of Action shall not operate as a waiver of those privileges
                 or immunities possessed or retained by the Debtor, nor shall it operate to eliminate the rights of any
         24      co-defendant to any applicable joint privilege or immunity. The Liquidation Trust shall also be vested
         25      with the Debtor’s rights, as such rights existed prior to the Effective Date, to conduct discovery and
                 oral examinations of any party under Bankruptcy Rule 2004. The Liquidation Trust, however, shall
         26      not be considered a successor of the Debtor and shall not assume any obligations of the Debtor other
                 than expressly provided for by the Plan and the Liquidation Trust Agreement.
         27
                       Any attorney-client privilege, work-product privilege, joint interest privilege or other privilege
         28      or immunity held by the Committee shall be transferred to and shall vest in the Liquidation Trust. The
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          1      Liquidation Trust shall have access to all discovery obtained by the Committee in the Chapter 11 Case,
                 including discovery obtained pursuant to Bankruptcy Rule 2004.
          2
                         Except as otherwise ordered by the Bankruptcy Court, the Trust Expenses on or after the
          3
                 Effective Date shall be paid in the ordinary course of business in accordance with the Liquidation
          4      Trust Agreement without further order of the Bankruptcy Court and without notice to any other party.

          5             The Liquidation Trust shall file annual reports regarding the liquidation or other administration
                 of property comprising the Liquidation Trust Assets, the distributions made by it and other matters
          6      required to be included in such report in accordance with the Liquidation Trust Agreement. In
                 addition, the Liquidation Trust will file tax returns as a grantor trust pursuant to United States Treasury
          7      Regulation Article 1.671-4(a).
          8
                         The Liquidation Trust Interests are not intended to constitute “securities.” To the extent the
          9      Liquidation Trust Interests are deemed to be “securities,” the issuance of such interests shall be exempt
                 from registration under the Securities Act and any applicable state and local laws requiring registration
         10      of securities pursuant to section 1145 of the Bankruptcy Code or another available exemption from
                 registration under the Securities Act or other applicable law. If the Liquidation Trustee determines,
         11      with the advice of counsel, that the Liquidation Trust is required to comply with registration or
                 reporting requirements under the Securities Act, the Exchange Act, or other applicable law, then the
         12
                 Liquidation Trustee shall take any and all actions to comply with such registration and reporting
         13      requirements, if any, and to file reports with the SEC to the extent required by applicable law.

         14              The existence of the Liquidation Trust and the authority of the Liquidation Trustee will
                 commence as of the Effective Date and will remain and continue in full force and effect until the date
         15      on which: (a) all material Liquidation Trust Assets are liquidated and/or monetized in accordance with
                 the Plan; provided, however, for the avoidance of doubt, that the Liquidation Trustee shall not be
         16
                 required to pursue any Causes of Action or take any other action that the Liquidation Trustee
         17      determines, in his discretion, is not likely to yield sufficient additional proceeds to justify further
                 pursuit or action; (b) the funds in the Liquidation Trust have been distributed in accordance with the
         18      Plan; and (c) the order closing the Chapter 11 Case is a Final Order.

         19             To the extent that the terms of the Plan with respect to the Liquidation Trust are inconsistent
                 with the terms set forth in the Liquidation Trust Agreement, then the terms of the Plan shall govern.
         20
                        This Plan shall be interpreted so as to afford, for the benefit of all Holders of Allowed
         21
                 Claims, the greatest opportunity for maximum recovery by the Liquidation Trustee on the
         22      Liquidation Trust Assets and proceeds thereof, Causes of Action (including, but not limited to,
                 D&O Claims and Tort Claims) and proceeds thereof, and rights in and proceeds of any D&O
         23      Liability Insurance Policies. The proceeds of Causes of Action (including, but not limited to,
                 D&O Claims and Tort Claims) are material to the implementation of this Plan and the
         24      recoveries to Creditors.
         25      H.         Liquidation Trustee
         26
                        Appointment of the Liquidation Trustee. The Liquidation Trustee shall be selected by the
         27      Committee, subject to the consent of AAM, such consent not to be unreasonable withheld, and
                 appointed as of the date of the execution of the Liquidation Trust Agreement. The identity of the
         28      Liquidation Trustee shall be disclosed prior to the Confirmation Hearing as part of the Plan

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          1      Supplement in accordance with section 1129(a)(5) of the Bankruptcy Code. The Liquidation Trustee
                 will be compensated by the Liquidation Trust, which compensation shall be disclosed in the Plan
          2      Supplement in accordance with section 1129(a)(5) of the Bankruptcy Code.
          3
                        Liquidation Trustee as the Representative of the Debtor’s Estate. On the Effective Date, the
          4      Liquidation Trustee shall be deemed the Estate’s representative in accordance with section 1123 of
                 the Bankruptcy Code and shall have all the rights and powers set forth in the Liquidation Trust
          5      Agreement and the Plan, including the right to: (1) effect all actions and execute all agreements,
                 instruments, and other documents necessary to implement the provisions of the Liquidation Trust
          6      Agreement and the Plan; (2) administer the Liquidation Trust Assets, including prosecuting, settling,
                 abandoning, or compromising any Causes of Action; and (3) employ and compensate professionals
          7
                 and other agents consistent with this Article V.H of the Plan.
          8
                         For the avoidance of doubt, upon the occurrence of the Effective Date, the Liquidation Trustee
          9      shall automatically be granted, have, and be vested with exclusive standing and authority to: (i) bring
                 and prosecute any Cause of Action (including, but not limited to, D&O Claims and Tort Claims) in a
         10      court of competent jurisdiction; and (ii) negotiate, settle, waive, or otherwise resolve any Causes of
                 Action (including, but not limited to, D&O Claims and Tort Claims); provided, however, that so long
         11      as the MTA has not been terminated, settlement of any Causes of Action that seeks recovery of more
         12      than $500,000 shall require either: (i) AAM’s consent, which consent may not be unreasonably
                 withheld, or (ii) an order of the Bankruptcy Court authorizing such settlement.
         13
                         For the further avoidance of doubt, upon the Effective Date, the Liquidation Trustee shall
         14      automatically be: (a) deemed a representative of the Debtor and the Estate with respect to all applicable
                 Causes of Action (including, but not limited to, D&O Claims and Tort Claims) and any related D&O
         15      Liability Insurance Policies; and (b) granted and have the right to control any and all privileges and
         16      protections on behalf of the Debtor, the Committee and the Estate with respect to all applicable Causes
                 of Action (including, but not limited to, D&O Claims and Tort Claims). Nothing in this Plan shall
         17      require the Liquidation Trustee to prosecute or pursue any Causes of Action.

         18              Powers of the Liquidation Trustee. The Liquidation Trustee shall be a representative of the
                 Debtor’s Estate and shall, subject to the terms of the Liquidation Trust Agreement, have the power to
         19      make all decisions with respect to the Liquidation Trust Assets, including prosecution, negotiation,
                 waiver, and/or settlement of any Causes of Action (including, but not limited to, D&O Claims and
         20
                 Tort Claims); provided, however, that so long as the MTA has not been terminated, settlement of any
         21      Causes of Action asserted against other Entities that seeks recovery of more than $500,000 shall
                 require either: (i) AAM’s consent, which consent may not be unreasonably withheld, or (ii) an order
         22      of the Bankruptcy Court authorizing such settlement. Unless otherwise provided in the Plan, the
                 Confirmation Order or the Liquidation Trust Agreement, the duties and powers of the Liquidation
         23      Trustee shall include the following (without need of further Court approval):
         24                 (i)   To implement this Plan, including any other powers necessary or incidental thereto;
         25
                        (ii)   To exercise all power and authority that may be exercised, to commence, pursue,
         26      abandon, and/or settle all proceedings (including the power to continue any actions and proceedings
                 that may have been commenced by the Debtor or the Committee prior to the Effective Date) that may
         27      be commenced, and to take all actions that may be taken by any officer, director, manager or trustee
                 of the Debtor with like effect as if authorized, exercised, and taken by unanimous action of such
         28

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          1      officers, directors, managers and trustees, including consummating the Plan and all transfers
                 thereunder on behalf of the Debtor;
          2
                         (iii)   To wind-up the affairs of the Debtor to the extent necessary as expeditiously as
          3
                 reasonably possible, including by filing final cost reports and taking such other actions as are necessary
          4      after the Effective Date to bring about an orderly wind-down of the Debtor’s operations;

          5              (iv)   To take all actions as may be necessary or appropriate to pursue and consummate: (a)
                 the transactions and obligations contemplated by the MTA and the MSA, or the asset purchase
          6      agreements attached thereto, (b) enforce the rights of the Debtor, the Committee, and the Liquidation
                 Trustee (as representative of the Debtor and its Estate) pursuant to any Conforming Escrow
          7      Agreement, or (c) a Liquidation Transaction;
          8
                        (v)      To maintain and use the Debtor’s existing accounts and/or to close any such accounts
          9      and transfer all amounts therein to one or more accounts in, accordance with the Plan, or to invest
                 some or all of the funds that would otherwise be deposited into such accounts in allowed investments
         10      under applicable non-bankruptcy law;
         11             (vi)    To make distributions to Holders of Allowed Claims, and take other actions required
                 under or consistent with the Plan, including the maintenance of appropriate reserves, in the name of
         12      the Debtor or the Liquidation Trust;
         13
                        (vii) To use, manage, sell, lease, license, abandon, convert to Cash, and/or otherwise dispose
         14      of the Liquidation Trust Assets for the purpose of making distributions, including distributions of
                 Distributable Assets and Net Distributable Assets, and fully consummating the Plan;
         15
                       (viii) To take all steps necessary to terminate the corporate existence of the Debtor and to
         16      wind-up and close the Liquidation Trust;
         17             (ix)    To prosecute objections to Claims, including Administrative Expense Claims, and
         18      compromise, settle, and/or litigate any such Claims (Disputed or otherwise); provided, however, that
                 so long as the MTA has not been terminated, settlement of any Disputed Claim asserted against the
         19      Debtor’s Estate where the amount in dispute exceeds $100,000 shall require either: (i) AAM’s consent,
                 which consent may not be unreasonably withheld, or (ii) an order of the Bankruptcy Court authorizing
         20      such settlement;
         21              (x)    To investigate and prosecute any and all Causes of Action (including, but not limited
                 to, D&O Claims and Tort Claims) and compromise, settle, waive, and/or litigate any Causes of Action
         22
                 (including, but not limited to, D&O Claims and Tort Claims); provided, however, that so long as the
         23      MTA has not been terminated, settlement of any Causes of Action asserted against other Entities that
                 seeks recovery of more than $500,000 shall require either: (i) AAM’s consent, which consent may not
         24      be unreasonably withheld, or (ii) an order of the Bankruptcy Court authorizing such settlement;
         25             (xi)    To prepare and file tax returns for the Debtor and the Liquidation Trust to the extent
                 required by law;
         26
                        (xii) To employ and compensate any and all such professionals and agents as the Liquidation
         27
                 Trustee, in his or her sole discretion, deems reasonably necessary to perform his or her duties under
         28      the Plan, without further order of the Bankruptcy Court;

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          1                 (xiii) To satisfy and pay all Trust Expenses;
          2              (xiv) To obtain, renew, replace, or supplement insurance policies and to pay any associated
                 obligations, including the payment of associated premiums, and to exercise any other power or
          3
                 authority necessary or incidental thereto;
          4
                         (xv) To participate in or File any post-Effective Date motion(s) to amend or modify this
          5      Plan or the Liquidation Trust Agreement, or any appeal(s) of the Confirmation Order;

          6                 (xvi)   To participate in or File any action to enforce or interpret this Plan;

          7                 (xvii) To bind the Liquidation Trust; and
          8             (xviii) To take all other actions not inconsistent with the provisions of the Plan that the
                 Liquidation Trustee deems reasonably necessary or desirable in connection with the administration or
          9
                 implementation of the Plan, including filing all motions, pleadings, reports, and other documents in
         10      connection with the administration and closing of the Chapter 11 Case.

         11              Liquidation Trustee as Successor in Interest to the Debtor and Committee. Upon the Effective
                 Date, the Liquidation Trustee is the successor in interest to the Debtor and the Committee, and thus,
         12      as of and after the Effective Date, to the extent this Plan requires an action by the Debtor or the
                 Committee, the action shall be taken by the Liquidation Trustee on behalf of the Debtor and the
         13      Committee, as applicable.
         14
                 I.         Liquidation Trust Beneficiaries
         15
                        Each of the Liquidation Trust Beneficiaries shall be recorded and set forth in a schedule
         16      maintained by the Liquidation Trustee expressly for such purpose based upon its Allowed Claim.

         17              The ownership of Liquidation Trust Interests shall not entitle any Liquidation Trust
                 Beneficiary to any title in or to the Liquidation Trust Assets, any right to call for a partition or division
         18      of such Liquidation Trust Assets, or any right to require an accounting, except as may be specifically
         19      provided herein. Ownership of a Liquidation Trust Interest (a) shall be noted in the books and records
                 of the Liquidation Trust and (b) shall not be evidenced by any certificate, note, or receipt or in any
         20      other form or manner whatsoever, except as maintained on the books and records of the Liquidation
                 Trust by the Liquidation Trustee.
         21
                         As set forth in more detail in the Liquidation Trust Agreement, the Liquidation Trust Interests
         22      may not be transferred, sold, assigned, hypothecated, or pledged, except as they may be assigned or
                 transferred by will, intestate succession, or operation of law.
         23

         24      J.         Liquidation Trust Oversight Committee

         25              The Liquidation Trust Oversight Committee shall be comprised of not less than three (3)
                 members, who shall be designated by the Committee, provided, however, that AAM shall have the
         26      right to serve as one of the members of the Liquidation Trust Oversight Committee. The identity of
                 the members of the Liquidation Trust Oversight Committee shall be disclosed as part of the Plan
         27      Supplement in accordance with section 1129(a)(5) of the Bankruptcy Code.
         28

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          1             The Liquidation Trust Oversight Committee shall oversee the Liquidation Trust and consult
                 with the Liquidation Trustee, as set forth herein and in the Liquidation Trust Agreement.2 The
          2      Liquidation Trustee shall report to the Liquidation Trust Oversight Committee from time to time
          3      regarding the performance of his or her duties. The members of the Liquidation Trust Oversight
                 Committee shall be reimbursed for all reasonable expenses incurred in the performance of their duties
          4      under the Plan and the Liquidation Trust Agreement.

          5              The duties and powers of the Liquidation Trust Oversight Committee shall terminate upon
                 final resolution of the Liquidation Trust Assets and distribution of the proceeds thereof or as otherwise
          6      provided in the Liquidation Trust Agreement.
          7      K.         Source of Funding / Net Distributable Assets
          8
                         The source of all distributions and payments under the Plan will be the Distributable Assets
          9      and the proceeds thereof. Distributions to the Holders of Liquidation Trust Interests will be funded
                 entirely from Liquidation Trust Assets consisting of Net Distributable Assets.
         10
                         The Liquidation Trustee, in his or her discretion, shall have the authority to allocate and
         11      reallocate Liquidation Trust Assets (including Cash, and including with respect to any reserves
                 provided for under this Plan) as necessary to effectuate the Plan without further notice to any party, or
         12      action, approval, or order of the Bankruptcy Court, to the extent such allocation or reallocation would
         13      not be inconsistent with the terms of this Plan; provided, however, that the Liquidation Trustee may,
                 but is not required to, apply to the Bankruptcy Court on notice to the parties included on the Post-
         14      Effective Date Notice List prior to making any such allocation or reallocation. In the event that the
                 Liquidation Trustee determines that effectuation of the Plan or an equitable distribution to Holders of
         15      Allowed Claims requires allocation or reallocation of Liquidation Trust Assets in a manner that would
                 otherwise be inconsistent with any term of this Plan (including for the purposes of distribution under
         16
                 the Plan), the Liquidation Trustee shall have the authority to make such allocation or reallocation with
         17      approval of the Bankruptcy Court upon application to the Bankruptcy Court on notice to parties
                 included on the Post-Effective Date Notice List.
         18
                 L.         Distribution of Liquidation Trust Interests
         19
                       Upon the Effective Date, Liquidation Trust Interests shall be distributed to Holders of Allowed
         20      General Unsecured Claims.
         21             Certain Liquidation Trust Interests shall be reserved for Holders of Disputed General
         22      Unsecured Claims and held by the Liquidation Trustee in the Disputed Claims Reserve pending
                 allowance or disallowance of such Disputed General Unsecured Claims.
         23
                 M.         Distribution of Net Distributable Assets
         24
                        Plan Distributions, if any, to be made to Liquidation Trust Beneficiaries shall be made solely
         25      from the Liquidation Trust Assets.
         26

         27
                 2
                  For the avoidance of doubt, the Liquidation Trust Oversight Committee’s powers shall be limited to supervision and
         28
                 consultation, without any consent or direction rights.

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          1              If the distribution to be received by the Holder of an Allowed General Unsecured Claim would
                 be less than fifty dollars ($50.00) on any distribution date or in the aggregate, at the discretion of the
          2      Liquidation Trustee, no such payment will be made to such Holder.
          3
                 N.         Disputed Claims Reserve
          4
                        The Liquidation Trustee shall maintain a Disputed Claims Reserve pending Allowance or
          5      Disallowance of Disputed Claims, and shall withhold such Cash from distributions to Holders of
                 Allowed General Unsecured Claims. The Liquidation Trustee, in the Liquidation Trustee’s discretion,
          6      on and after the Effective Date, shall have authority to increase or decrease the Disputed Claims
                 Reserve, as reasonably necessary and appropriate. Upon the Final Distribution Date, the Liquidation
          7      Trustee shall distribute any Cash remaining in the Disputed Claims Reserve to Holders of Allowed
          8      General Unsecured Claims in accordance with the allocations set forth in this Plan and the Liquidation
                 Trust Agreement.
          9
                 O.         Objections to Claims
         10
                         From and after the Effective Date, the Liquidation Trustee shall have the exclusive authority,
         11      right, and standing (but shall not be obligated) to: (i) object to and contest the allowance of any and
                 all Claims; (ii) compromise and settle any Disputed Claim or Claim that has not otherwise been
         12      Allowed, without further notice to any party, or action, approval, or order of the Bankruptcy Court;
         13      and (iii) litigate to final resolution objections to Claims; provided, however, that so long as the MTA
                 has not been terminated, settlement of any Disputed Claim asserted against the Debtor’s Estate where
         14      the amount in dispute exceeds $100,000 shall require either: (i) AAM’s consent, which consent may
                 not be unreasonably withheld, or (ii) an order of the Bankruptcy Court authorizing such settlement.
         15      The failure of any party to object to any Claim in the Chapter 11 Case prior to the occurrence of the
                 Effective Date shall be without prejudice to the right of the Liquidation Trustee to contest, object to,
         16
                 or otherwise defend against such Claim.
         17
                       No Plan Distribution shall be made to a Holder of a Claim Disputed or otherwise, unless
         18      and until such Claim is or becomes an Allowed Claim.

         19              All objections to Claims shall be Filed with the Bankruptcy Court, and served upon the Holders
                 of such Claims, on or before the one hundred twentieth (120th) day after the Effective Date. The time
         20      period for filing objections to Claims shall automatically renew for successive periods of one hundred
                 twenty (120) days each until the earlier of (i) the date upon which all Claims have been Allowed or
         21
                 Disallowed or (ii) the date fixed by the Bankruptcy Court upon motion of the Liquidation Trustee or
         22      a Holder of a Claim.

         23               Until such time as an unliquidated Claim, contingent Claim, or unliquidated or contingent
                 portion of a Claim becomes Allowed or is Disallowed, such Claim will be treated as a Disputed Claim
         24      for all purposes related to Plan Distributions. The Holder of an unliquidated Claim, contingent Claim,
                 or unliquidated or contingent portion of a Claim will be entitled to a Plan Distribution only when and
         25      if such unliquidated or contingent Claim becomes an Allowed Claim.
         26

         27

         28

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          1      P.         Surcharge Under Section 506(c) of the Bankruptcy Code
          2              All rights of Holders of Secured Claims under this Plan are subject to the rights of the Debtor,
                 the Committee and/or the Liquidation Trustee to surcharge the applicable Collateral pursuant to
          3
                 section 506(c) of the Bankruptcy Code, which rights are expressly preserved.
          4
                 Q.         Disallowance of Untimely Claims
          5
                         Any Claim for which a Bar Date has been established that is not timely Filed or otherwise
          6      asserted as directed on or before the applicable Bar Date shall: (a) be forever Disallowed, barred, and
                 expunged in its entirety; and (b) not be enforceable against the Debtor, the Estate, the Liquidation
          7      Trust, and/or the Liquidation Trustee, all without further notice to any party, or action, approval, or
                 order of the Bankruptcy Court, irrespective of whether such Claim was Filed prior to, on, or following
          8
                 the Confirmation Date. Except as otherwise agreed by the Liquidation Trustee, any and all Holders
          9      of Claims for which a Bar Date has been established that is not timely Filed or otherwise asserted as
                 directed on or before the applicable Bar Date shall not be treated as Creditors for purposes of voting
         10      and distribution pursuant to Bankruptcy Rule 3003(c)(2).
         11      R.         Claims Paid or Payable by Third Parties and Insured Claims
         12                       1.     Claims Paid by Third Parties
         13              A Claim shall be reduced in full, and such Claim shall be Disallowed without a Claim objection
         14      having to be Filed and without further notice to any party, or action, approval, or order of the
                 Bankruptcy Court, to the extent that the Holder of such Claim received payment in full on account of
         15      such Claim from a party that is not the Debtor, the Estate, the Liquidation Trust, or the Liquidation
                 Trustee. To the extent a Holder of a Claim receives a Plan Distribution on account of such Claim and
         16      receives payment from a party that is not the Debtor, the Estate, the Liquidation Trust, or the
                 Liquidation Trustee on account of such Claim, such Holder shall, within two weeks of such Holder’s
         17
                 receipt thereof, repay the distribution to the Debtor or the Liquidation Trust, as applicable, to the extent
         18      the Holder’s total recovery on account of such Claim from the third party and under the Plan exceeds
                 the Allowed amount of such Claim determined as of the date of any such distribution under the Plan.
         19      The failure of such Holder to timely repay or return such distribution shall result in the Holder owing
                 the Debtor or the Liquidation Trustee, as applicable, annualized interest at the Federal Judgment Rate
         20      on such amount owed for each day after the two-week grace period specified above until the amount
                 is repaid.
         21

         22                       2.     Claims Payable by Third Parties

         23               No Plan Distribution shall be made on account of an Allowed Claim that is payable by a party
                 that is not the Debtor, the Estate, the Liquidation Trust, or the Liquidation Trustee, including pursuant
         24      to any insurance policy, until the Holder of such Allowed Claim has exhausted all remedies with
                 respect to such third party or insurance policy. To the extent that one or more of the Debtor’s insurers
         25      or another third party agrees to satisfy in full or in part an Allowed Claim, then immediately upon such
                 agreement, the applicable portion of such Claim may be Disallowed and expunged without a Claim
         26
                 objection having to be Filed and without further notice to any party, or action, approval or order of the
         27      Bankruptcy Court. Unless and until the Holder of a Claim that is payable by a party that is not the
                 Debtor, the Estate, the Liquidation Trust, or the Liquidation Trustee exhausts all remedies with respect
         28      to such third party of insurance policy, such Claim shall be deemed estimated at zero dollars ($0) for

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          1      all purposes of the Plan and Liquidation Trust Agreement without further notice to any party, or action,
                 approval or order of the Bankruptcy Court.
          2
                                    3.     Special Issues Regarding Insured Claims
          3

          4              Under the terms of the Debtor’s various insurance policies, the Debtor may owe a deductible
                 amount or self-insured retention obligation on account of Insured Claims. After the Effective Date of
          5      the Plan (unless an applicable order modifying the automatic stay has been entered at an earlier date),
                 Holders of Insured Claims shall be enjoined by the injunctions established by the Confirmation Order
          6      and this Plan from commencing or continuing any action to assert or collect any alleged Claims
                 relating to any deductible or self-insured retention obligation against the Debtor, its Estate, and the
          7      Liquidation Trust.
          8
                         The Plan shall not expand the scope of, or alter in any other way, the rights and obligations of
          9      the Debtor’s insurers under their policies, and the Debtor’s insurers shall retain any and all defenses
                 to coverage that such insurers may have, including the right to contest and/or litigate with any party,
         10      including the Debtor, the existence, primacy, and/or scope of available coverage under any alleged
                 applicable policy. The Plan shall not operate as a waiver of any other Claims that the Debtor’s insurers
         11      have asserted or may assert in any Proof of Claim, or the rights and defenses of the Debtor, the Estate,
                 or the Liquidation Trust to such Claims.
         12

         13      S.         Preservation of Causes of Action

         14              Except as provided in Articles X and XI hereof, nothing contained in this Plan shall be deemed
                 a waiver or relinquishment of any claims or Causes of Action of the Debtor or the Estate that are not
         15      settled with respect to Allowed Claims or specifically waived or relinquished by this Plan, which shall
                 vest in the Liquidation Trust (collectively, along with the proceeds thereof, the “Retained Causes of
         16      Action”). The Retained Causes of Action preserved hereunder include, without limitation, the
         17      following claims, rights, or other causes of action:

         18                 (i)     claims and Causes of Action (including, but not limited to, Tort Claims and D&O
                                    Claims), against the Excluded Parties and/or any other party not expressly released or
         19                         enjoined under this Plan;

         20                 (ii)    Avoidance Actions;
         21                 (iii)   relating to pending litigation, including, without limitation, the suits, administrative
                                    proceedings, executions, garnishments, and attachments listed in the Debtor’s
         22
                                    Schedules;
         23
                            (iv)    against vendors, suppliers of goods or services (including attorneys, accountants,
         24                         consultants, or other professional service providers), utilities, contract counterparties,
                                    and other parties for, including but not limited to: (A) services rendered; (B) over- and
         25                         under-payments, back charges, duplicate payments, improper holdbacks, deposits,
                                    warranties, guarantees, indemnities, setoff, or recoupment; (C) failure to fully perform
         26                         or to condition performance on additional requirements under contracts with the
         27                         Debtor; (D) wrongful or improper termination, suspension of services, or supply of
                                    goods, or failure to meet other contractual or regulatory obligation; (E) indemnification
         28                         and/or warranty claims; or (F) turnover Causes of Action arising under §§ 542 or 543;

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          1                 (v)     against health plans, payors, and other related providers;
          2                 (vi)    related to third-party non-Debtor’s violations of antitrust, unfair competition, or similar
                                    laws;
          3

          4                 (vii)   against landlords or lessors, including, without limitation, for erroneous charges,
                                    overpayments, returns of security deposits, indemnification, or for environmental
          5                         claims;

          6                 (viii) arising against current or former tenants or lessees, including, without limitation, for
                                   non-payment of rent, damages, and holdover proceedings;
          7
                            (ix)    arising from damage to the Debtor’s property;
          8
                            (x)     relating to claims, rights, or other Causes of Action the Debtor may have to interplead
          9
                                    third parties in actions commenced against the Debtor;
         10
                            (xi)    for collection of a debt or other amount owed to the Debtor;
         11
                            (xii)   against insurance carriers, reinsurance carriers, underwriters, surety bond issuers or
         12                         other related or similar parties relating to coverage, indemnity, contribution,
                                    reimbursement, or other matters; and
         13
                            (xiii) arising under or relating to the MSA or the MTA, the asset purchase agreements
         14                        attached thereto, or any Conforming Escrow Agreement, including, but not limited to,
         15                        enforcement of such agreements and/or any breaches of such agreements.

         16             Except as otherwise expressly provided in the Plan, any and all claims and Causes of
                 Action of the Debtor and the Estate are preserved under the Plan.
         17
                 T.         Release of Liens, Claims, and Security Interests
         18
                         Except as otherwise provided in the Plan or in any contract, instrument, release, or other
         19      agreement or document entered into or delivered in connection with the Plan, on the Effective Date
         20      and concurrently with the applicable distributions made pursuant to the Plan, all Liens, Claims,
                 security interests, mortgages, deeds of trust, or other interests in or against the property of the Estate
         21      will be fully released, terminated, extinguished, and discharged, in each case without further notice to
                 or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule and
         22      without need for any notice to or any vote, consent, authorization, approval, ratification, or other action
                 by any Entity or any director, stockholder, securityholder, manager, member, trustee or partner (or
         23      board thereof) of any Entity. Any Entity holding such Liens or interests will, pursuant to section 1142
         24      of the Bankruptcy Code, promptly execute and deliver to the Liquidation Trustee such instruments of
                 termination, release, satisfaction, and/or assignment (in recordable form) as may be reasonably
         25      requested by the Liquidation Trustee. Nothing contained in this Plan shall revive, preserve, or transfer
                 any Claims or Liens that have been released pursuant to any prior order of the Bankruptcy Court.
         26
                 U.         Cancellation of Securities, Certificates and Instruments
         27
                        Except for the purpose of evidencing a right to a distribution under this Plan and except as
         28      otherwise set forth in this Plan, on the Effective Date, all agreements, notes, instruments, debentures,
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          1      certificates, Securities, and other documents evidencing any prepetition Claim against the Debtor and
                 any rights of any Holder in respect thereof shall be deemed cancelled, discharged, inoperative and of
          2      no force or effect.
          3
                 V.         Dissolution of Debtor; Final Decree
          4
                          At any time following the Effective Date, the Liquidation Trustee, on behalf of the Debtor,
          5      shall be authorized to File a motion for the entry of a final decree closing the Chapter 11 Case pursuant
                 to section 350 of the Bankruptcy Code. Upon entry of such final decree, the Debtor shall be deemed
          6      dissolved without further order of the Bankruptcy Court or action by the Liquidation Trustee, including
                 the filing of any documents with the secretary of state or any other government agency.
          7
                 W.         Treatment of Vacant Classes
          8

          9             Any Claim in a Class that is considered vacant under Article III.C of this Plan shall receive
                 no Plan Distribution.
         10
                                                 ARTICLE VI.
         11                 TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         12      A.         Assumption and Rejection of Executory Contracts and Unexpired Leases
         13             On or before the Confirmation Date, Buyer may provide by written notice to the Debtor and
                 the Committee a list of Designated Contracts to be assumed by the Debtor and assigned to the Buyer
         14
                 upon the Effective Date, subject to the Buyer’s payment, prior to the Effective Date, to the
         15      counterparty to such Designated Contract of the Cure Costs.

         16              Any Designated Contract with respect to which Buyer has not paid the respective Cure Costs
                 directly to its counterparty shall be deemed rejected on the Effective Date.
         17
                       Buyer’s payment of Cure Costs shall not be credited towards, or otherwise reduce or alter in
         18      any way, AAM’s obligation to pay the Liquidation Trustee the AAM Cash Contribution.
         19
                         The Debtor shall have no obligation to assume or assign any executory contract or unexpired
         20      lease that is not a Designated Contract.

         21             On the Effective Date, all Executory Contracts and Unexpired Leases of the Debtor will be
                 deemed rejected in accordance with, and subject to, the provisions and requirements of sections 365
         22      and 1123 of the Bankruptcy Code, except for those Executory Contracts and Unexpired Leases that:
         23                       1.     have previously expired or terminated pursuant to their own terms or by
                                         agreement of the parties thereto;
         24

         25                       2.     have been assumed by order of the Bankruptcy Court;

         26                       3.     are the subject of a motion to assume or motion to reject pending on the
                                         Effective Date;
         27

         28

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          1                       4.     are identified as a Designated Contract in the Plan Supplement, and, with
                                         respect to such Designated Contract, Buyer has paid, prior to the Effective Date,
          2                              to the counterparty to such Designated Contract the Cure Costs thereof; or
          3
                                  5.     are explicitly assumed pursuant to the terms of this Plan.
          4
                        Notwithstanding the foregoing, in the event that (a) the MTA has been terminated and (b) the
          5      Committee or the Liquidation Trustee determines in good faith that one or more Executory Contracts
                 or Unexpired Leases of the Debtor are critical to preserving the viability of pursuing and
          6      consummating an alternative reopening transaction post-Effective Date, the Committee or the
                 Liquidation Trustee, as applicable, shall have the authority to designate such Executory Contracts or
          7      Unexpired Leases as “Reopening Optionality Agreements,” in which case the Committee or the
          8      Liquidation Trustee, as applicable, shall have until sixty (60) days after the Effective Date to determine
                 whether to assume or reject such Reopening Optionality Agreements.
          9
                         Without amending or altering any prior order of the Bankruptcy Court approving the
         10      assumption or rejection of any Executory Contract or Unexpired Lease, entry of the Confirmation
                 Order by the Bankruptcy Court will constitute approval of such assumptions and rejections pursuant
         11      to sections 365(a) and 1123 of the Bankruptcy Code. To the extent any provision in any Executory
                 Contract or Unexpired Lease assumed pursuant to the Plan (including any “change of control”
         12
                 provision) restricts or prevents, or purports to restrict or prevent, or is breached or deemed breached
         13      by, the Debtor’s assumption of such Executory Contract or Unexpired Lease, then such provision will
                 be deemed modified such that the transactions contemplated by the Plan will not entitle the non-Debtor
         14      party thereto to terminate such Executory Contract or Unexpired Lease or to exercise any other default-
                 related rights with respect thereto.
         15
                          For the avoidance of doubt, the Debtor shall not assume any prepetition indemnity obligations
         16
                 to their directors, officers, trustees and managers.
         17
                 B.         Claims on Account of the Rejection of Executory Contracts or Unexpired Leases
         18
                        All Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts
         19      or Unexpired Leases, pursuant to the Plan or the Confirmation Order, if any, must be Filed with the
                 Bankruptcy Court within thirty (30) days after the Effective Date or such other date set by Final Order.
         20      The Debtor, the Committee or the Liquidation Trust will provide notice of such rejection (which may
                 be made in the same notice as the occurrence of the Effective Date) and specify the appropriate
         21
                 deadline for the filing of such Proof of Claim.
         22
                         Any Entity that is required to File a Proof of Claim arising from the rejection of an Executory
         23      Contract or an Unexpired Lease that fails to timely do so will be forever barred, estopped, and enjoined
                 from asserting such Claim, and such Claim will not be enforceable, against the Debtor, the Estate, the
         24      Liquidation Trustee, or the Liquidation Trust, and the Debtor, the Estate, the Liquidation Trustee, the
                 Liquidation Trust and all of their property will be forever discharged from any and all indebtedness
         25      and liability with respect to such Claim, unless otherwise ordered by the Bankruptcy Court or as
         26      otherwise provided in the Plan, without further notice to any party, or action, approval, or order of the
                 Bankruptcy Court. All such Claims will, as of the Effective Date, be subject to the permanent
         27      injunction set forth in Article XI.C of the Plan. Notwithstanding the foregoing, to the extent that any
                 such Claim is or was subject to a previously established Bar Date in the Chapter 11 Case, such
         28      previously established Bar Date shall be deemed operative and will not be deemed extended by virtue

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          1      of this Article VI.B. All claims arising from the rejection of any Executory Contract or Unexpired
                 Lease shall be treated as General Unsecured Claims, subject to any applicable limitation or defense
          2      under the Bankruptcy Code and applicable law.
          3
                 C.         Preservation and Vesting of D&O Liability Insurance Policies
          4
                         Notwithstanding anything to the contrary in the Plan, as of the Effective Date, all rights of the
          5      Debtor and its Estate in the D&O Liability Insurance Policies are fully and expressly preserved under
                 the Plan. Confirmation and effectiveness of the Plan will not discharge, impair, or otherwise modify
          6      any rights of the Debtor, the Estate, the Liquidation Trust, the Liquidation Trustee, or any other
                 beneficiary under the D&O Liability Insurance Policies. On the Effective Date, the D&O Liability
          7      Insurance Policies and the proceeds thereof (subject in all cases to the terms of the D&O Liability
          8      Insurance Policies or the rights of any other beneficiaries therein) shall automatically vest in the
                 Liquidation Trust and shall be a Liquidation Trust Asset. For the avoidance of doubt, the D&O
          9      Liability Insurance Policies are not Executory Contracts and are neither assumed nor rejected under
                 the Plan.
         10
                         The Confirmation Order shall constitute a determination that no default by the Debtor exists
         11      with respect to any of the D&O Liability Insurance Policies and that nothing in any prior order, any
                 prior agreements, or this Plan shall be construed or applied to modify, impair, or otherwise affect the
         12
                 enforceability of the D&O Liability Insurance Policies or any coverage thereunder with regard to any
         13      Causes of Action (including, but not limited to, the D&O Claims and Tort Claims), or claims, interests,
                 or rights of the Debtor, the Estate, the Liquidation Trustee, or the Liquidation Trust. The Plan shall be
         14      liberally construed to protect the interests of all Creditors in all Causes of Action (including, but not
                 limited to, D&O Claims and Tort Claims), and to limit any Claims against the Estate.
         15
                        Nothing in this Plan shall diminish, impair, or otherwise affect (i) rights of the Debtor’s current
         16
                 or former directors, officers, trustees, managers, or any other Person covered under the D&O Liability
         17      Insurance Policies, or (ii) payments from the proceeds or the enforceability of any D&O Liability
                 Insurance Policies that may cover (a) claims by the Debtor, or (b) claims against the Debtor or covered
         18      Persons thereunder.

         19                                            ARTICLE VII.
                                           PROVISIONS GOVERNING DISTRIBUTIONS
         20
                 A.         Dates of Distributions
         21

         22              Except as otherwise provided in the Plan, on the Effective Date (or if a Claim is not an Allowed
                 Claim on the Effective Date, on the date that such Claim becomes an Allowed Claim), or as soon as
         23      reasonably practicable thereafter, each Holder of an Allowed Claim against the Debtor shall receive
                 the full amount of the distributions that the Plan provides for Allowed Claims in the applicable Class
         24      and in the manner provided herein. In the event that any payment or act under the Plan is required to
                 be made or performed on a date that is not on a Business Day, then the making of such payment or the
         25      performance of such act may be completed on the next succeeding Business Day, but shall be deemed
         26      to have been completed as of the required date. If and to the extent there are Disputed Claims,
                 distributions on account of any such Disputed Claims shall be made pursuant to the provisions
         27      provided in the Plan. Except as otherwise provided in the Plan, Holders of Claims shall not be entitled
                 to interest, dividends or accruals on the distributions provided for therein, regardless of whether
         28      distributions are delivered on or at any time after the Effective Date.

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          1              Upon the Effective Date, all debts of the Debtor shall be deemed fixed and adjusted pursuant
                 to the Plan and the Debtor and the Liquidation Trust shall have no liability on account of any Claims
          2      except as set forth in the Plan and in the Confirmation Order. All payments and all distributions made
          3      by the Liquidation Trustee or the Distribution Agent under the Plan shall be in full and final
                 satisfaction, settlement, and release of all Claims against the Debtor.
          4
                 B.         Distribution Agent
          5
                        Except as provided herein, all Plan Distributions shall be made by the Liquidation Trustee or
          6      the Distribution Agent. The Liquidation Trustee or the Distribution Agent shall not be required to
                 give any bond or surety or other security for the performance of their duties unless otherwise ordered
          7      by the Bankruptcy Court.
          8
                        The Liquidation Trustee and the Distribution Agent shall be empowered to (a) effect all actions
          9      and execute all agreements, instruments, and other documents necessary to perform their duties under
                 the Plan; (b) make all distributions contemplated hereby; (c) employ transfer agents and registrars to
         10      represent them with respect to their responsibilities; and (d) exercise such other powers as may be
                 vested in the Liquidation Trustee and the Distribution Agent by order of the Bankruptcy Court,
         11      pursuant to the Plan, or as deemed by the Liquidation Trustee and the Distribution Agent to be
                 necessary and proper to implement the provisions hereof.
         12

         13      C.         Cash Distributions

         14              Distributions of Cash may be made either by check drawn on a domestic bank or wire transfer
                 from a domestic bank, at the option of the Liquidation Trustee, except that Cash payments made to
         15      foreign Creditors may be made in such funds and by such means as are necessary or customary in a
                 particular foreign jurisdiction.
         16
                 D.         Rounding of Payments
         17

         18              Whenever payment or distribution of a fraction of a dollar of value whether in the form of Cash
                 or Securities would otherwise be called for, the actual payment or distribution may, at the discretion
         19      of the Liquidation Trustee, reflect a rounding down of such fraction to the nearest whole dollar or zero
                 if the amount is less than one-half of one dollar and a rounding up of such fraction to the nearest whole
         20      dollar if the amount is one-half or more of one dollar.
         21      E.         Distributions on Account of Claims Allowed After the Effective Date
         22              Except as otherwise agreed by the Holder of a particular Claim or as provided in the Plan, all
         23      distributions shall be made pursuant to the terms of the Plan and the Confirmation Order. Plan
                 Distributions to any Holder of an Allowed Claim shall be allocated first to the principal amount of any
         24      such Allowed Claim, as determined for U.S. federal income tax purposes and then, to the extent the
                 consideration exceeds such amount, to the remainder of such Claim comprising accrued but unpaid
         25      interest, if any (but solely to the extent that interest is an allowable portion of such Allowed Claim).
         26      F.         General Distribution Procedures
         27             The Liquidation Trustee or the Distribution Agent shall make all distributions of Cash or other
         28      property required under the Plan, unless the Plan specifically provides otherwise. All Cash and other

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          1      property held by the Liquidation Trustee for distribution under the Plan shall not be subject to any
                 claim by any Person, except as provided under the Plan.
          2
                 G.         Address for Delivery of Distributions
          3

          4             Distributions to Holders of Allowed Claims, to the extent provided for under the Plan, shall be
                 made (1) at the address set forth on any Proofs of Claim Filed by such Holders (to the extent such
          5      Proofs of Claim are Filed in the Chapter 11 Case), (2) at the addresses set forth in any written notices
                 of address change delivered to the Liquidation Trustee, or (3) at the addresses in the Debtor’s or the
          6      Liquidation Trust’s books and records.
          7      H.         Undeliverable Distributions, Unclaimed Property, and De Minimis Distribution
          8              If the distribution to the Holder of any Allowed Claim is returned to the Debtor or the
          9      Liquidation Trust as undeliverable, no further distribution shall be made to such Holder, and the
                 Liquidation Trustee shall have no obligation to make any further distribution to the Holder, unless and
         10      until the Liquidation Trustee is notified in writing of such Holder’s then-current address. The
                 Liquidation Trustee shall have no independent obligation to check or identify a current mailing address
         11      for any Holder of an Allowed Claim. Subject to the terms of this Plan, undeliverable distributions
                 shall remain in the possession of the Liquidation Trustee until such time as a distribution becomes
         12      deliverable.
         13
                         Any Entity that fails to claim any Cash or Securities within ninety (90) days from the date upon
         14      which a Plan Distribution is first made to such Entity shall forfeit all rights to any distribution under
                 the Plan. Entities that fail to claim Cash or Securities under the Plan shall forfeit their rights thereto
         15      and shall have no claim whatsoever against the Debtor, the Estate, the Liquidation Trust, the
                 Liquidation Trustee, or against any Holder of an Allowed Claim to whom Plan Distributions are made
         16      by the Liquidation Trustee. Undeliverable Cash or Securities shall not be entitled to any interest,
         17      dividends, or other accruals of any kind. Any check that is not cashed or otherwise deposited within
                 ninety (90) days after the check’s date shall be deemed an undeliverable distribution under this Plan.
         18
                         Any Holder of an Allowed Claim that does not assert a Claim pursuant to the Plan for an
         19      undeliverable distribution within ninety (90) days after the first attempted delivery shall have its Claim
                 for such undeliverable distribution expunged and shall be forever barred from asserting any such
         20      Claim against the Debtor, the Estate, the Liquidation Trust, the Liquidation Trustee, or their respective
                 property. In such cases, any Cash held for distribution on account of such Claims shall be property of
         21
                 the Liquidation Trust, free of any restrictions thereon, and shall revert to the account from which such
         22      payment was originally issued to be distributed pursuant to the Plan. Nothing contained in the Plan
                 shall require the Liquidation Trustee to attempt to locate any Holder of an Allowed Claim. Similarly,
         23      checks or drafts issued pursuant to this Plan to Persons holding Allowed Claims and not presented for
                 payment within ninety (90) days following mailing thereof to the last known address of such Person
         24      shall be deemed nonnegotiable thereafter. Any Claim in respect of such distribution shall be
                 discharged and forever barred from assertion against the Debtor, the Estate, the Liquidation Trust, the
         25
                 Liquidation Trustee, and their property. Any distribution which is deemed nonnegotiable shall re-vest
         26      in the Liquidation Trust and be available for distribution consistent with the Plan.

         27              If the distribution to be received by the Holder of an Allowed General Unsecured Claim would
                 be less than fifty dollars ($50.00) on any distribution date or in the aggregate, at the discretion of the
         28      Liquidation Trustee, no such payment will be made to such Holder.

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          1      I.         Distributions to be Applied First to Administrative and Priority Claims
          2              To the extent any Holder of an Allowed Claim receives any Plan Distribution(s) from the
                 Liquidation Trustee or Liquidation Trust on account of Claims with more than one level of priority,
          3
                 such distribution(s) shall be applied by the recipient first to satisfy any Allowed Administrative
          4      Expense Claims, Allowed Priority Tax Claims, or Other Priority Claims of the recipient against the
                 Debtor which are entitled to priority under Bankruptcy Code sections 503 or 507 (in accordance with
          5      their respective priority under the Bankruptcy Code) and, only after all such priority Claims are fully
                 satisfied, to any Allowed Claims not entitled to such priority.
          6
                 J.         Distribution Record Date
          7
                         Except as otherwise provided in a Final Order of the Bankruptcy Court or as otherwise
          8
                 stipulated by the Debtor or Liquidation Trustee, as applicable, the transferees of Claims that are
          9      transferred pursuant to Bankruptcy Rule 3001 on or prior to the Distribution Record Date will be
                 treated as the Holders of those Claims for all purposes, notwithstanding that any period provided by
         10      Bankruptcy Rule 3001 for objecting to the transfer may not have expired by the Distribution Record
                 Date. The Debtor and Liquidation Trustee shall have no obligation to recognize any transfer of any
         11      Claim occurring after the Distribution Record Date. In making any distribution with respect to any
                 Claim, the Debtor and the Liquidation Trustee shall be entitled instead to recognize and deal with, for
         12
                 all purposes hereunder, only the Person that is listed on the Proof of Claim Filed with respect thereto
         13      or on the Schedules as the Holder thereof as of the close of business on the Distribution Record Date
                 and upon such other evidence or record of transfer or assignment that are known to the Debtor or the
         14      Liquidation Trustee, as applicable, as of the Distribution Record Date.
         15      K.         Distribution Cap
         16             In no event shall any Holder of an Allowed Claim receive Plan Distribution(s) of an aggregate
         17      value exceeding one hundred percent (100%) of the amount of such Holder’s Allowed Claim.

         18      L.         Withholding Taxes

         19              In connection with the Plan, to the extent applicable, the Liquidation Trustee shall comply with
                 all tax withholding and reporting requirements imposed on it by any Governmental Unit, and all Plan
         20      Distributions made pursuant to the Plan shall be subject to such withholding and reporting
                 requirements. The Liquidation Trustee shall be entitled to deduct any U.S. or non-U.S. federal, state,
         21      or local withholding taxes from any payments made with respect to Allowed Claims, as appropriate.
         22      In the case of a non-Cash distribution that is subject to withholding, the Liquidation Trustee may
                 withhold an appropriate portion of such distributed property and sell such withheld property to
         23      generate Cash necessary to pay over the withholding tax. A Holder of an Allowed Claim entitled to
                 receive a Plan Distribution shall not receive any Plan Distribution unless such Holder has provided to
         24      the Liquidation Trustee such Holder’s taxpayer identification number and such other information and
                 certification as may be deemed necessary for the Liquidation Trustee to comply with applicable tax
         25      reporting and withholding laws (including an IRS Form W-9 or (if the Holder is a non-U.S. Person)
         26      an appropriate IRS Form W-8 (unless such Person is exempt from information reporting requirements
                 under the Tax Code)) and so notifies the Liquidation Trustee. If such Holder does not provide such
         27      taxpayer identification number and such other information and certification within the time and in the
                 manner set forth in the Liquidation Trust Agreement, such Holder will forfeit its interest in the
         28      Liquidation Trust and shall not receive any Plan Distribution. Any amounts withheld pursuant hereto

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          1      shall be deemed to have been distributed to and received by the applicable recipient for all purposes
                 of the Plan. In connection with any Plan Distribution, the Liquidation Trustee may take whatever
          2      actions are necessary to comply with applicable U.S. federal, state, local and non-U.S. tax withholding
          3      obligations.

          4              Notwithstanding any other provision of this Plan, (a) each Holder of an Allowed Claim
                 that is to receive a Plan Distribution shall have the sole and exclusive responsibility for the
          5      satisfaction and payment of any tax obligations imposed on such Holder by any Governmental
                 Unit, including income, withholding, and other tax obligations, on account of such distribution;
          6      and (b) no Plan Distribution shall be made to or on behalf of such Holder pursuant to this Plan
                 unless and until such Holder has made arrangements satisfactory to the Liquidation Trustee for
          7
                 the payment and satisfaction of such withholding tax obligations or such tax obligation that
          8      would be imposed upon any disbursing agent in connection with such distribution. Any property
                 to be distributed pursuant to this Plan shall, pending the implementation of such arrangements,
          9      be treated as an undeliverable distribution under this Plan.
         10      M.         Setoffs and Recoupment
         11              The Liquidation Trustee may, to the extent permitted under applicable law, setoff or recoup
                 against any Allowed Claim and any distributions to be made pursuant to the Plan on account of such
         12
                 Allowed Claim, the claims, rights, and Causes of Action of any nature that the Debtor or the
         13      Liquidation Trustee may hold against the Holder of such Allowed Claim that are not otherwise waived,
                 released, or compromised in accordance with the Plan; provided, however, that neither such a setoff,
         14      recoupment, nor the allowance of any Claim hereunder shall constitute a waiver or release by the
                 Liquidation Trustee of any such claims, rights, and Causes of Action that the Debtor or the Liquidation
         15      Trustee possesses against such Holder; provided, further that neither the failure to effect such a setoff
         16      or recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by the
                 Liquidation Trustee of any such Claims, rights, or Causes of Action that the Debtor, the Estate, or the
         17      Liquidation Trustee may possess against such Holder. Notwithstanding anything to the contrary in this
                 section, the Plan or the Confirmation Order, the Liquidation Trustee waives any rights to setoff or
         18      recoupment against SAMC. Any Holder of an Allowed Claim subject to such setoff or recoupment
                 reserves the right to challenge any such setoff or recoupment in the Bankruptcy Court or any other
         19      court with jurisdiction with respect to such challenge.
         20
                 N.         Distributions Free and Clear
         21
                         Except as otherwise provided herein, any distributions under the Plan shall be free and clear of
         22      any Liens, Claims, and encumbrances, and no Entity, including the Debtor, shall have any interest
                 (legal, beneficial, or otherwise) in any property of any of the Estate distributed pursuant to the Plan.
         23
                 O.         Lost, Stolen, Mutilated, or Destroyed Securities
         24
                         In addition to any requirements under any applicable agreement and applicable law, any Holder
         25      of a Claim evidenced by a security or note that has been lost, stolen, mutilated, or destroyed will, in
         26      lieu of surrendering such security or note to the extent required by the Plan, deliver to the Liquidation
                 Trustee or the Distribution Agent: (x) evidence reasonably satisfactory to the Liquidation Trustee or
         27      the Distribution Agent of such loss, theft, mutilation, or destruction; and (y) such security or indemnity
                 as may be required by the Liquidation Trustee or the Distribution Agent to hold such party harmless
         28      from any damages, liabilities, or costs incurred in treating such individual as a Holder of an Allowed

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          1      Claim. Upon compliance with this Article VII.O of the Plan as determined by the Debtor or the
                 Liquidation Trustee by a Holder of a Claim evidenced by a security or note, such Holder will, for all
          2      purposes under the Plan, be deemed to have surrendered such security or note to the Liquidation
          3      Trustee and the Distribution Agent.

          4                                         ARTICLE VIII.
                                        PROCEDURES FOR RESOLVING CONTINGENT,
          5                               UNLIQUIDATED AND DISPUTED CLAIMS

          6      A.         Disputed Claims
          7              The Liquidation Trustee may, in his or her discretion, File with the Bankruptcy Court an
                 objection to the allowance of any Claim or any other appropriate motion or adversary proceeding with
          8
                 respect thereto. All such objections, and any objection to the allowance of any Claim Filed by the
          9      Debtor or the Committee and not resolved prior to the Effective Date, may be litigated to Final Order
                 by the Liquidation Trustee. The Liquidation Trustee may compromise, settle, withdraw, or resolve
         10      any objection to any Claim without further order of the Bankruptcy Court. Unless otherwise provided
                 in the Plan, the Confirmation Order, or the Liquidation Trust Agreement, the Liquidation Trustee is
         11      authorized to settle, or withdraw any objections to, any Disputed Claim following the Effective Date
                 without further notice to Creditors or authorization of the Bankruptcy Court, in which event such
         12
                 Claim shall be deemed to be an Allowed Claim in the amount compromised for purposes of the Plan;
         13      provided, however, that so long as the MTA has not been terminated, settlement of any Disputed Claim
                 asserted against the Debtor’s Estate where the amount in dispute exceeds $100,000 shall require either:
         14      (i) AAM’s consent, which consent may not be unreasonably withheld, or (ii) an order of the
                 Bankruptcy Court authorizing such settlement. Under no circumstances will any distributions be
         15      made on account of Disallowed Claims. The Liquidation Trustee is under no obligation to object to
         16      the allowance of any Claim. Further, to the extent that there are no Assets available to make a
                 distribution to the Holder of such Claim or such Class of Claims under the Plan or the cost of any
         17      objection is reasonably believed by the Liquidation Trustee to exceed the anticipated distribution on
                 such Claim or such Class of Claims, then the Liquidation Trustee is under no obligation to object to
         18      the allowance of such Claim or Class of Claims.
         19      B.         Procedures Regarding Disputed Claims
         20              Notwithstanding any provision in the Plan to the contrary, except as otherwise agreed by the
         21      Liquidation Trustee, in the Liquidation Trustee’s sole discretion, no partial payments and no partial
                 distributions will be made with respect to a Disputed Claim, even if a portion of the Claim is not
         22      Disputed, or any Claim that has otherwise not been Allowed until such disputes are resolved by Final
                 Order or a settlement or stipulation between the Debtor or Liquidation Trustee and the Holder of the
         23      Claim, or some portion of the Claim, has been Allowed. In the event there is a Disputed Claim or
                 Claim that has otherwise not been Allowed requiring adjudication and resolution, the Liquidation
         24      Trustee reserves the right to establish appropriate reserves for potential payment of such Claim. To
         25      the extent a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any) shall be made
                 to the Holder of such Allowed Claim in accordance with the provisions of the Plan, without any interest
         26      to be paid on account of the time period during which such Claim was a Disputed Claim. No
                 distribution or other payment or treatment shall be made on account of a Disallowed Claim at any
         27      time.
         28

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          1      C.         Allowance of Claims
          2             Following the date on which a Disputed Claim becomes an Allowed Claim after the Initial
                 Distribution Date, the Liquidation Trustee shall pay directly to the Holder of such Allowed Claim, as
          3
                 soon as reasonably practicable, the amount provided for under the Plan, as applicable, and in
          4      accordance therewith.

          5                       1.    Allowance of Claims

          6             Notwithstanding anything to the contrary herein, after the Effective Date and subject to the
                 other provisions of the Plan, the Liquidation Trustee will have and will retain any and all rights and
          7      defenses under bankruptcy or nonbankruptcy law that the Debtor or its Estate had with respect to any
                 Claim immediately before the Effective Date, except with respect to any Claim deemed Allowed under
          8
                 the Plan or by orders of the Bankruptcy Court. Except as expressly provided in the Plan or in any
          9      order entered in the Chapter 11 Case prior to the Effective Date (including the Confirmation Order),
                 no Claim will become an Allowed Claim unless and until such Claim is deemed Allowed under the
         10      Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a Final Order, including the
                 Confirmation Order, in the Chapter 11 Case allowing such Claim.
         11
                                  2.    Prosecution of Objections to Claims
         12
                         From and after the Effective Date, unless otherwise provided in the Plan, the Confirmation
         13
                 Order, or the Liquidation Trust Agreement, the Liquidation Trustee will have the sole authority to File
         14      objections to Claims and settle, compromise, withdraw, or litigate to judgment objections to any and
                 all Claims, regardless of whether such Claims are in an Unimpaired Class or otherwise. From and
         15      after the Effective Date, the Liquidation Trustee may settle or compromise any Disputed Claim
                 without any further notice to or action, order, or approval of the Bankruptcy Court; provided, however,
         16      that so long as the MTA has not been terminated, settlement of any Disputed Claim asserted against
         17      the Debtor’s Estate where the amount in dispute exceeds $100,000 shall require either: (i) AAM’s
                 consent, which consent may not be unreasonably withheld, or (ii) an order of the Bankruptcy Court
         18      authorizing such settlement. The Liquidation Trustee will have the sole authority to administer and
                 adjust the Claims Register to reflect any such settlements or compromises without any further notice
         19      to or action, order, or approval of the Bankruptcy Court.
         20                       3.    Estimation
         21              The Liquidation Trustee may, at any time and from time to time, request that the Bankruptcy
         22      Court estimate any Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of
                 whether an objection was previously Filed with the Bankruptcy Court with respect to such Claim, or
         23      whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain
                 jurisdiction to estimate any Claim at any time during litigation concerning any objection to any Claim,
         24      including during the pendency of any appeal relating to such objection. Any order of the Bankruptcy
                 Court that estimates a Disputed Claim pursuant to the Plan shall irrevocably constitute and be a
         25      conclusive and final determination of the Allowed amount of such Claim or the maximum allowable
         26      amount of such Claim, if any, as set forth by the Bankruptcy Court. Accordingly, the Holder of a
                 Disputed Claim that is estimated by the Bankruptcy Court pursuant to the Plan will not be entitled to
         27      any subsequent reconsideration or upward adjustment of the maximum allowable amount of such
                 Claim as a result of any subsequent adjudication or actual determination of the allowed amount of
         28      such Disputed Claim or otherwise, and the Holder of such Claim shall not have recourse to the

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          1      Liquidation Trustee in the event the allowed amount of the Claim of such Holder is at any time later
                 determined to exceed the estimated maximum allowable amount. The rights and objections of all
          2      parties are reserved in connection with any such estimation proceeding.
          3
                                                    ARTICLE IX.
          4                          CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

          5      A.         Conditions Precedent to the Effective Date

          6              It shall be a condition to the Effective Date that the following conditions shall have been
                 satisfied or waived pursuant to the provisions of Article IX.B of the Plan:
          7
                            a.    The Plan and Plan Supplement and all schedules, documents, supplements, and
          8                       Exhibits to the Plan will have been Filed by the Plan Proponent;
          9
                            b.    The Confirmation Order, in form and substance reasonably acceptable to the Plan
         10                       Proponent shall have been entered and shall be in full force and effect, and shall not
                                  have been reversed, stayed, modified, or vacated on appeal;
         11
                            c.    The Confirmation Order shall contain a finding that the Plan constitutes a “Conforming
         12                       Plan” within the meaning ascribed to such term in the MTA.
         13                 d.    The Liquidation Trustee shall have accepted, in writing, the terms of the Liquidation
                                  Trustee’s service and compensation, and such terms and compensation shall have been
         14
                                  approved by the Bankruptcy Court in the Confirmation Order;
         15
                            e.    The Liquidation Trust shall have been established;
         16
                            f.    If the MTA has not been validly terminated, AAM shall have deposited into the Escrow
         17                       Account an amount sufficient such that the Initial Contribution held in the Escrow
                                  Account as of the Effective Date is no less than $15 million;
         18
                            g.    Unless the MTA was terminated on or before the Commitment Deadline, the
         19
                                  Confirmation Order shall provide that the AAM Contribution Lien was valid and
         20                       perfected as of the date immediately following the Commitment Deadline; provided,
                                  that the AAM Contribution Lien shall be subordinated to any Lien granted to HCAI in
         21                       connection with any loan of DHLP Funds;

         22                 h.    With respect to all other documents and agreements necessary to implement the Plan:
                                  (1) all conditions precedent to such documents and agreements (other than any
         23                       conditions precedent related to the occurrence of the Effective Date) shall have been
         24                       satisfied or waived pursuant to the terms of such documents or agreements; (2) such
                                  documents and agreements shall have been tendered for delivery to the required parties
         25                       and have been approved by any required parties and, to the extent required, filed with
                                  and approved by the applicable authorities in the relevant jurisdiction; and (3) such
         26                       documents and agreements shall have been effected or executed;
         27                 i.    There shall be no ruling, judgment, or order issued by any Governmental Unit making
                                  illegal, enjoining, or otherwise preventing or prohibiting the Consummation of the
         28

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          1                       Plan, unless such ruling, judgment, or order has been stayed, reversed, or vacated
                                  within three (3) Business Days after such issuance; and
          2
                            j.    All other actions, authorizations, consents, and regulatory approvals required (if any)
          3
                                  and necessary to implement the provisions of the Plan shall have been obtained,
          4                       effected, or executed in a manner acceptable to the Plan Proponent or, if waivable,
                                  waived by the Person or Persons (or Entity or Entities) entitled to the benefit thereof.
          5
                 B.         Waiver of Conditions
          6
                        The conditions to Consummation of the Plan set forth in this Article IX may be waived by
          7      Plan Proponent, without notice, leave, or order of the Bankruptcy Court or any formal action other
                 than proceeding to confirm or consummate the Plan. The failure of the Plan Proponent to exercise
          8
                 any of the foregoing rights will not be deemed a waiver of any other rights, and each right will be
          9      deemed an ongoing right that may be asserted at any time.

         10      C.         Substantial Consummation

         11             “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed
                 to occur on the Effective Date.
         12
                 D.         Effect of Non-Occurrence of Conditions to Consummation
         13
                        If the Consummation of the Plan does not occur, upon the Plan Proponent’s filing of a notice
         14
                 on the docket of the Bankruptcy Court, the Plan will be null and void in all respects and nothing
         15      contained in the Plan or the Disclosure Statement will: (a) constitute a waiver or release of any claims
                 by or Claims against the Debtor; (b) prejudice in any manner the rights of the Debtor, the Committee,
         16      any Holders, or any other Entity; (c) constitute an allowance of any Claim; or (d) constitute an
                 admission, acknowledgment, offer, or undertaking by the Debtor, the Committee, any Holders, or any
         17      other Entity in any respect.
         18
                                                        ARTICLE X.
         19                           LIMITATION ON LIABILITY AND RELATED PROVISIONS

         20      A.         General

         21              Notwithstanding anything contained in the Plan to the contrary, the allowance, classification,
                 and treatment of all Allowed Claims and their respective distributions and treatments under the Plan
         22      shall take into account the relative priority and rights of the Claims in each Class in connection with
                 any contractual, legal, and equitable subordination rights relating thereto whether arising under general
         23
                 principles of equitable subordination, section 510 of the Bankruptcy Code, or otherwise.
         24
                         In accordance with the provisions of the Plan and pursuant to section 363 of the Bankruptcy
         25      Code and Bankruptcy Rule 9019, without any further notice to or action, order, or approval of the
                 Bankruptcy Court, unless specifically provided otherwise in this Plan or the Liquidation Trust
         26      Agreement, after the Effective Date the Liquidation Trustee may, in his or her sole and absolute
                 discretion, (1) compromise and settle Claims against the Debtor, and (2) compromise and settle Causes
         27      of Action against other Entities; provided, however, that so long as the MTA has not been terminated,
         28      settlement of any Disputed Claim asserted against the Debtor’s Estate where the amount in dispute
                 exceeds $100,000 and settlement of any Causes of Action asserted against other Entities that seeks
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          1      recovery of more than $500,000 shall require either: (i) AAM’s consent, which consent may not be
                 unreasonably withheld, or (ii) an order of the Bankruptcy Court authorizing such settlement.
          2
                 B.         Release of SAMC
          3

          4              Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent authorized by
                 applicable law, for good and valuable consideration, on and after the Effective Date, SAMC is
          5      expressly, unconditionally, generally and individually and collectively released, acquitted and
                 discharged by the Debtor and its Estate from any and all actions, claims, obligations, rights, suits,
          6      damages, Causes of Action, remedies, and liabilities whatsoever, including any derivative claims or
                 claims for recharacterization, subordination, or avoidance of the SAMC Secured Obligations, asserted
          7      on behalf of the Debtor, whether known or unknown, foreseen or unforeseen, matured or unmatured,
          8      existing or hereinafter arising, in law, equity, or otherwise, whether for tort, contract, violations of
                 federal or state securities laws, or otherwise, that the Debtor or its Estate would have been legally
          9      entitled to assert in their own right (whether individually or collectively) or on behalf of the holder of
                 any Claim or Interest or other Entity, based on or relating to, or in any manner arising from, in whole
         10      or in part, the Debtor, the Chapter 11 Case, the subject matter of, or the transactions or events giving
                 rise to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
         11      between any Debtor and SAMC, the restructuring of Claims and Interests before or in the Chapter 11
         12      Case, the negotiation, formulation, or preparation of the Plan or related agreements, instruments or
                 other documents (including, for the avoidance of doubt, providing any legal opinion requested by any
         13      Entity regarding any transaction, contract, instrument, document, or other agreement contemplated by
                 the Plan or the reliance by SAMC on the Plan or the Confirmation Order in lieu of such legal opinion),
         14      upon any other act or omission, transaction, agreement, event, or other occurrence taking place on or
                 before the Effective Date.
         15

         16      C.         Limitation on Liability of Liquidation Trustee

         17              The Liquidation Trustee, the Liquidation Trust Oversight Committee, and the individual
                 members of Liquidation Trust Oversight Committee will not be liable for any act they may do or omit
         18      to do as in such capacity under the Plan and the Liquidation Trust Agreement, as applicable, while
                 acting in good faith and in the exercise of their reasonable business judgment; nor will any of them be
         19      liable in any event except for gross negligence, willful misconduct, or fraud as determined by a Final
                 Order of a court of competent jurisdiction. The foregoing limitation on liability also will apply to any
         20
                 Person or Entity employed by any such party (including any professional employed or retained by the
         21      Liquidation Trustee) and acting on behalf of such party in the fulfillment of their respective duties
                 hereunder or under the Liquidation Trust Agreement. Also, the Liquidation Trustee, the Liquidation
         22      Trust Oversight Committee (and its individual members), and any Person or Entity employed by such
                 parties (including any professional employed or retained by the Liquidation Trustee) and acting on
         23      behalf of such a party shall be entitled to indemnification out of the assets of the Liquidation Trust
                 against any losses, liabilities, expenses (including attorneys’ fees and disbursements), damages, taxes,
         24
                 suits, or claims that they may incur or sustain by reason of being, having been, or being employed by
         25      such party, or for performing any functions incidental to such service.

         26

         27

         28

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          1      D.         Reserved
          2                                            ARTICLE XI.
                                                EXCULPATION AND INJUNCTION
          3

          4      A.         No Discharge

          5              Nothing contained in this Plan shall be deemed to constitute a discharge of the Debtor under
                 section 1141(d)(3) of the Bankruptcy Code. However, no Holder of a Claim may receive any payment
          6      from, or seek recourse against, any Assets that are to be distributed under the Plan other than Assets
                 required to be distributed to that Holder pursuant to the Plan. As of the Confirmation Date, all Persons
          7      and Entities are enjoined from asserting against any property that is to be distributed under the Plan
                 any Claims, rights, Causes of Action, liabilities, or interests based upon any act, omission, transaction,
          8
                 or other activity that occurred before the Effective Date except as expressly provided in the Plan or
          9      the Confirmation Order.

         10      B.         Exculpation

         11              Except as otherwise specifically provided in the Plan, the Exculpated Parties will neither have
                 nor incur any liability to any Entity or Person for any claims or Causes of Action arising between the
         12      Petition Date and the Effective Date for any act taken or omitted to be taken in connection with, or
                 related to the Chapter 11 Case, formulating, negotiating, preparing, disseminating, implementing,
         13
                 administering, confirming, pursuing, or effecting the Consummation of the Plan, the Disclosure
         14      Statement, or any contract, instrument, release, or other agreement or document created or entered into
                 in connection with the Plan, pursuing confirmation of the Plan, or soliciting votes on the Plan and the
         15      Exculpated Parties shall be entitled to rely reasonably upon the advice of counsel with respect to their
                 duties and responsibilities under the Plan; provided, however, that the foregoing provisions will have
         16      no effect on the liability of any Entity or Person that results from any such act or omission that is
         17      determined in a Final Order of the Bankruptcy Court or other court of competent jurisdiction to have
                 constituted actual fraud, gross negligence, or willful misconduct; provided, further, however that the
         18      foregoing provisions will not apply to any acts, omissions, Claims, Causes of Action, or other
                 obligations expressly set forth in and preserved by the Plan or the Plan Supplement.
         19
                 C.         Injunction
         20
                        Except as otherwise provided in the Plan, from and after the Effective Date, all Entities
         21      and Persons who have held, hold, or may hold Claims against the Debtor or its Estate, are
         22      permanently enjoined from taking any action in furtherance of such Claim and/or any other
                 cause of action released and/or discharged under the Plan, including, without limitation, the
         23      following actions: (i) commencing, conducting, or continuing in any manner, directly or
                 indirectly, any suit, action, or other proceeding of any kind against the Debtor, the Debtor’s
         24      property, the Debtor’s Estate, the Liquidation Trust, the Liquidation Trustee or the Liquidation
                 Trust Assets with respect to any such Claim and/or other cause of action, or taking any act to
         25      recover such Claim outside of the claims allowance procedures discussed in this Plan, the
         26      Bankruptcy Code and Bankruptcy Rules; (ii) creating, perfecting, or enforcing in any manner,
                 directly or indirectly, any Lien, security interest or encumbrance of any kind against the Debtor,
         27      the Debtor’s property, the Debtor’s Estate, the Liquidation Trust, the Liquidation Trustee or
                 the Liquidation Trust Assets on account of any such Claim and/or other cause of action; (iii)
         28      enforcing, levying, attaching, collecting, or otherwise recovering in any manner or by any means,

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          1      whether directly or indirectly, any judgment, award, decree, or order against the Debtor, the
                 Debtor’s property, the Debtor’s Estate, the Liquidation Trust, the Liquidation Trustee or the
          2      Liquidation Trust Assets, on account of any such Claim and/or other cause of action; and (iv)
          3      asserting any right of setoff, subrogation, or recoupment of any kind, directly or indirectly,
                 against any debt, liability or obligation due from or to the Debtor, the Debtor’s Estate, the
          4      Liquidation Trust, the Liquidation Trustee, or the Liquidation Trust Assets, or against the
                 property or interests in property of the Debtor, the Debtor’s Estate, the Liquidation Trust, the
          5      Liquidation Trustee or the Liquidation Trust Assets, on account of any such Claim and/or other
                 cause of action; provided, however, that any rights of recoupment asserted by the California
          6      Department of Health Care Services against the Debtor or the Estate and any rights and defenses
          7      of the Debtor, the Estate, the Liquidation Trust and the Liquidation Trustee with respect thereto
                 are fully preserved; provided, further, that solely with respect to the Debtor, the Debtor’s
          8      property, and the Debtor’s Estate, the foregoing injunction shall remain in effect only until both
                 (a) the Chapter 11 Case has been closed and (b) all assets of the Debtor’s Estate and the
          9      Liquidation Trust Assets have been fully administered; provided further, however, that such
                 injunction shall be revived and/or remain in effect, as applicable, to the extent that the Chapter
         10      11 Case is reopened for any reason, until the Chapter 11 Case is closed and the other conditions
         11      for termination of the injunction set forth in this paragraph have been satisfied. By accepting
                 Plan Distributions, each Holder of an Allowed Claim will be deemed to have specifically
         12      consented to the injunctions in the Plan. Such injunctions shall extend for the benefit of the
                 Liquidation Trustee, any successors of the Debtor, and to property and interests in property
         13      subject to this Plan. All injunctions or stays provided for in the Chapter 11 Case under section
                 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date,
         14
                 will remain in full force and effect until the Effective Date. The injunction in this paragraph
         15      shall apply only to actions against the Debtor, the Debtor’s property, the Debtor’s Estate, the
                 Liquidation Trust, the Liquidation Trustee, and/or the Liquidation Trust Assets.
         16
                         From and after the Effective Date, to the extent of the Exculpations and limitations of
         17      liability granted in this Plan, all Persons and Entities shall be permanently enjoined from
                 commencing or continuing in any manner against the Exculpated Parties or parties whose
         18      liability is limited (collectively, the “Protected Parties”), and their respective assets and
         19      properties, as the case may be, any suit, action, or other proceeding on account of or respecting
                 any claim, demand, liability, obligation, debt, right, cause of action, interest, or remedy with
         20      respect to which such Protected Parties are exculpated or with respect to which such Protected
                 Parties’ liability is otherwise limited.
         21
                                                       ARTICLE XII.
         22                                      BINDING NATURE OF PLAN
         23           ON THE EFFECTIVE DATE, AND EFFECTIVE AS OF THE EFFECTIVE DATE, THE
         24      PLAN WILL BIND, AND WILL BE DEEMED BINDING UPON, ALL HOLDERS OF CLAIMS
                 AGAINST THE DEBTOR AND EACH AND EVERY SUCH HOLDER’S RESPECTIVE
         25      SUCCESSORS AND ASSIGNS, TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE
                 LAW, NOTWITHSTANDING WHETHER OR NOT SUCH HOLDER (I) WILL RECEIVE OR
         26      RETAIN ANY PROPERTY OR INTEREST IN PROPERTY UNDER THE PLAN, (II) HAS FILED
                 A PROOF OF CLAIM IN THE CHAPTER 11 CASE, OR (III) FAILED TO VOTE TO ACCEPT OR
         27
                 REJECT THE PLAN OR AFFIRMATIVELY VOTED TO REJECT THE PLAN.
         28

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          1                                              ARTICLE XIII.
                                                   RETENTION OF JURISDICTION
          2
                 A.         Retention of Jurisdiction
          3

          4              Pursuant to sections 105(c) and 1142 of the Bankruptcy Code, and notwithstanding the entry
                 of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall, after
          5      the Effective Date, to the maximum extent permitted by applicable law, retain exclusive jurisdiction
                 over all matters arising out of, or related to, the Chapter 11 Case and all Entities with respect to all
          6      matters related to the Chapter 11 Case, the Debtor, the Liquidation Trust, and this Plan, including,
                 without limitation, jurisdiction to:
          7
                                1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
          8
                 secured, unsecured, or subordinated status of any Claim, including the resolution of any request for
          9      payment of any Administrative Expense Claim and the resolution of any and all objections to the
                 allowance, priority and secured status of any Claim;
         10
                                2.     except as may otherwise be limited herein, recover all Assets of the Debtor and
         11      property of the Debtor’s Estate, wherever located;
         12                     3.      grant or deny any applications for allowance of compensation or reimbursement
                 of expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending on or before
         13
                 the Effective Date; provided, however, that, from and after the Effective Date, the Liquidation Trustee
         14      shall pay professionals in the ordinary course of business for any work expressly authorized by the
                 Liquidation Trustee after the Effective Date and such payment shall not be subject to the approval of
         15      the Bankruptcy Court;
         16                     4.     resolve any matters related to the MSA and the MTA, the asset purchase
                 agreements attached thereto, any Conforming Escrow Agreement and/or any Liquidation Transaction;
         17

         18                     5.      resolve any matters related to: (a) the assumption, assignment, or rejection of
                 any Executory Contract or Unexpired Lease to which the Debtor is party or with respect to which the
         19      Debtor may be liable and to adjudicate and, if necessary, liquidate, any Claims arising therefrom,
                 including those matters related to any amendment to this Plan after the Effective Date; (b) any potential
         20      contractual obligation arising under any Executory Contract or Unexpired Lease that is assumed; and
                 (c) any dispute regarding whether or not a contract or lease is or was executory or expired;
         21
                               6.      enter and enforce any order for the sale of property pursuant to sections 363,
         22
                 1123, or 1146(a) of the Bankruptcy Code;
         23
                                   7.     resolve any issues related to any matters adjudicated in the Chapter 11 Case;
         24
                               8.      hear and determine matters concerning state, local, and federal taxes in
         25      accordance with sections 346, 505, and/or 1146 of the Bankruptcy Code;
         26                     9.      ensure that Plan Distributions to Holders of Allowed Claims are accomplished
                 pursuant to the provisions of this Plan and adjudicate any and all disputes arising under or related to
         27      Plan Distributions;
         28

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          1                      10.     decide or resolve any motions, adversary proceedings, contested or litigated
                 matters, and any other Causes of Action (including, but not limited to D&O Claims and Tort Claims),
          2      or matters that are pending as of the Effective Date or that may be commenced in the future, and grant
          3      or deny any motions or applications involving the Debtor that may be pending on the Effective Date
                 or instituted by the Liquidation Trustee after the Effective Date, provided that the Liquidation Trustee
          4      shall reserve the right to commence actions in all appropriate forums and jurisdictions, enter such
                 orders as may be necessary or appropriate to implement or consummate the provisions of this Plan
          5      and all other contracts, instruments, releases, indentures, and other agreements or documents adopted
                 in connection with this Plan, the Plan Supplement, or the Disclosure Statement;
          6
                                11.    resolve any cases, controversies, suits, disputes, or Causes of Action (including,
          7
                 but not limited to, D&O Claims and Tort Claims), that may arise in connection with the
          8      Consummation, interpretation, or enforcement of this Plan or any Entity’s or Person’s obligations
                 incurred in connection with this Plan;
          9
                                12.    issue and enforce injunctions, enter and implement other orders, or take such
         10      other actions as may be necessary or appropriate to restrain interference by any Person or Entity with
                 the Consummation or enforcement of this Plan, except as otherwise provided in this Plan;
         11
                               13.    enforce the terms and conditions of this Plan, the Confirmation Order, and the
         12
                 Liquidation Trust Agreement;
         13
                                14.     resolve any cases, controversies, suits, or disputes with respect to the
         14      Exculpation, limitations of liability, and other provisions contained in Articles X and XI hereof and
                 enter such orders or take such others actions as may be necessary or appropriate to implement or
         15      enforce all such exculpations, injunctions, and other provisions;
         16                      15.     enforce, interpret, and determine any disputes arising in connection with any
         17      stipulations, orders, judgments, injunctions, exculpations, limitations of liability, indemnifications,
                 and rulings entered in connection with the Chapter 11 Case (whether or not the Chapter 11 Case has
         18      been closed), including, without limitation, resolving any dispute, case, controversy, or suit with
                 respect to whether or not the Debtor is bankrupt or out of business pursuant to any statute including,
         19      without limitation, pursuant to 42 CFR 433.312(b) and/or 42 CFR 433.318(e);
         20                     16.     approve any settlements or compromises entered into by the Liquidation
                 Trustee;
         21

         22                     17.    resolve any disputes concerning whether a Person or Entity had sufficient notice
                 of the Chapter 11 Case, any applicable Bar Date, the hearing on the approval of the Disclosure
         23      Statement, the hearing on the confirmation of the Plan, or for any other purpose;

         24                     18.     enter and implement such orders or take such other actions as may be necessary
                 or appropriate if the Confirmation Order is modified, stayed, reversed, revoked, or vacated;
         25
                                19.    consider any modifications of the Plan, to cure any defect or omission, or to
         26      reconcile any inconsistency in any order, including the Confirmation Order;
         27
                                20.     adjudicate, decide or resolve any and all matters related to section 1141 of the
         28      Bankruptcy Code, including without limitation, hearing and determining all disputes involving or
                 relating to any liability arising out of the termination of employment or the termination of any
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          1      employee or retirement benefit program, regardless of whether or not such termination occurred prior
                 to the Effective Date;
          2
                                21.   resolve any other matters that may arise in connection with or relate to this Plan,
          3
                 the Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or
          4      other agreement or document adopted or created in connection with this Plan or the Disclosure
                 Statement and to enter and implement such orders as may be necessary or appropriate to execute,
          5      implement or consummate any of the foregoing;

          6                       22.    enter a(n) order(s) or decree(s) concluding or closing the Chapter 11 Case;
          7                       23.    issue any order necessary to administer the Estate or the Liquidation Trust; and
          8                       24.    hear and determine any other matter not inconsistent with the Bankruptcy Code.
          9
                 B.         Consent to Jurisdiction
         10
                         All Creditors who have Filed or otherwise asserted Claims in the Chapter 11 Case shall be
         11      deemed to have consented to the jurisdiction of the Bankruptcy Court for purposes of the Causes of
                 Action.
         12
                                                        ARTICLE XIV.
         13                                       MISCELLANEOUS PROVISIONS
         14      A.         Dissolution of the Committee
         15
                         On the Effective Date, except as provided in the immediately following sentence, the
         16      Committee shall dissolve automatically and all members thereof shall be released and discharged from
                 all rights, duties, and responsibilities arising from, or related to, the Chapter 11 Case. After the
         17      Effective Date, the Committee shall continue in existence for the sole purposes of: (i) filing, objecting
                 to, and/or prosecuting fee applications Filed in the Chapter 11 Case; and (ii) prosecuting any pending
         18      motions or applications to which the Committee is a party.
         19
                 B.         Payment of Statutory Fees
         20
                         Prior to the Effective Date, the Debtor shall pay, in full in Cash, any fees due and owing
         21      pursuant to 28 U.S.C. § 1930 (including interest under 31 U.S.C. § 3717, if applicable) (the “Statutory
                 Fees”) on or before the Effective Date. Notwithstanding anything to the contrary in the Plan, Statutory
         22      Fees are not subject to an allowance procedure under 11 U.S.C. § 503(b), nor is the United States
                 Trustee required to file a request for payment of such fees. On and after the Effective Date, the
         23      Liquidation Trustee shall pay the applicable Statutory Fees that accrue after the Effective Date (or
         24      remain unpaid from the period prior to the Effective Date) until the earlier of (1) a final decree closing
                 the Chapter 11 Case or (2) conversion or dismissal of the Chapter 11 Case. The Debtor or the
         25      Liquidation Trustee shall pay any Statutory Fees due and payable with respect to any disbursements
                 made to the Liquidation Trust on the Effective Date. The Liquidation Trust shall not owe any Statutory
         26      Fees with respect to any disbursements made from the Liquidation Trust until, and only to the extent
                 that, the total disbursements made from the Liquidation Trust exceed the total amount of
         27      disbursements made by the Debtor to the Liquidation Trust.
         28

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          1             The Debtor shall File all quarterly reports due prior to the Effective Date when they become
                 due, in a form reasonably acceptable to the United States Trustee. After the Effective Date, the
          2      Liquidation Trustee shall File with the Bankruptcy Court quarterly reports when they become due, in
          3      a form reasonably acceptable to the United States Trustee. The United States Trustee shall not be
                 required to File any Administrative Expense Claim in the case.
          4
                 C.         Modification of Plan
          5
                         Effective as of the date hereof and subject to the limitations and rights contained in Article IX
          6      of this Plan: (a) the Plan Proponent reserves the right, in accordance with the Bankruptcy Code and
                 the Bankruptcy Rules, to amend or modify this Plan (including the Plan Supplement and any Exhibits
          7      to the Plan) prior to the entry of the Confirmation Order; and (b) after the entry of the Confirmation
          8      Order, the Plan Proponent, after notice and hearing and entry of an order of the Bankruptcy Court,
                 may amend or modify this Plan, (including the Plan Supplement and any Exhibits to the Plan), in
          9      accordance with section 1127(b) of the Bankruptcy Code or remedy any defect or omission or
                 reconcile any inconsistency in this Plan (including the Plan Supplement and any Exhibits to the Plan)
         10      in such manner as may be necessary to carry out the purpose and intent of this Plan. A Holder of a
                 Claim that has accepted this Plan shall be deemed to have accepted this Plan (including the Plan
         11      Supplement and any Exhibits to the Plan), as altered, amended or modified, if the proposed alteration,
         12      amendment, or modification does not materially and adversely change the treatment of such Claim of
                 such Holder.
         13
                        Objections with respect to any amendments or modifications to the Plan (as and to the extent
         14      permitted hereby) Filed after the deadline for objections to the Plan, as set by the Bankruptcy Court,
                 may be brought at the Confirmation Hearing. The Plan, and any modification or supplement thereof,
         15      may be inspected in the Office of the Clerk or its designee during normal business hours. The
         16      documents annexed to the Disclosure Statement or contained in any modification or supplement to the
                 Plan or the Disclosure Statement are an integral part of the Plan and shall be approved by the
         17      Bankruptcy Court pursuant to the Confirmation Order.

         18      D.         Adjustment of Claims Register

         19              The clerk of the Bankruptcy Court or other authorized party is authorized and directed to adjust
                 the Claims Register at the direction of the Liquidation Trustee to reflect the disallowance, reduction,
         20      reclassification, modification, or other resolution of any Claim pursuant to the terms of this Plan
         21      (whether or not documented in a Final Order, written agreement or otherwise) or any Final Order of
                 the Bankruptcy Court without further notice to any party, or action, approval, or order of the
         22      Bankruptcy Court.

         23      E.         Extension of Time
         24             For cause shown, any deadlines herein that are applicable to the Debtor, the Committee, the
                 Liquidation Trustee or the Liquidation Trust and which are not otherwise extendable, may be extended
         25      by the Bankruptcy Court.
         26
                 F.         Post-Effective Date Notice List
         27
                         Because certain Persons may not desire to continue to receive notices after the Effective Date,
         28      this Plan provides for the establishment of a Post-Effective Date Notice List. Persons on such Post-

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          1      Effective Date Notice List will be given certain notices and in some cases an opportunity to object to
                 certain matters under this Plan (as described herein). Any Person desiring to be included on the Post-
          2      Effective Date Notice List must (i) File a request to be included on the Post-Effective Date Notice List
          3      and include thereon its name, contact person, address, telephone number, and email address, within
                 thirty (30) days after the Effective Date, and (ii) concurrently serve a copy of its request to be included
          4      on the Post-Effective Date Notice List on the Liquidation Trustee and the Liquidation Trustee’s
                 counsel. Those Parties set forth in Article XIV.N of the Plan shall be included on the Post-Effective
          5      Date Notice List without the necessity of filing a request.
          6      G.         Revocation of Plan
          7              The Plan Proponent reserves the right to revoke or withdraw this Plan prior to the Confirmation
          8      Date and to File subsequent chapter 11 plans. If the Plan Proponent revokes or withdraws this Plan,
                 or if confirmation of this Plan or Consummation of this Plan does not occur, then: (1) this Plan shall
          9      be null and void in all respects; (2) any settlement or compromise embodied in this Plan, assumption
                 or rejection of Executory Contracts or Unexpired Leases effected by this Plan, and any document or
         10      agreement executed pursuant hereto shall be deemed null and void except as may be set forth in a
                 separate order entered by the Bankruptcy Court; and (3) nothing contained in this Plan shall:
         11      (a) constitute a waiver or release of any Claims by or against the Debtor or any other Entity;
         12      (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c) constitute an admission,
                 acknowledgement, offer or undertaking of any sort by the Debtor or any other Person or Entity.
         13
                 H.         Entire Agreement
         14
                        Except as otherwise addressed in any prior order of the Bankruptcy Court in the Chapter 11
         15      Case or described herein, the Plan (and any supplements or amendments hereto) supersedes all
                 previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
         16
                 representations on such subjects (other than the Liquidation Trust Agreement), all of which have
         17      become merged and integrated into the Plan.

         18      I.         Closing of Chapter 11 Case

         19              The Liquidation Trustee shall, promptly after the full administration of the Chapter 11 Case,
                 File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022, and any applicable
         20      order of the Bankruptcy Court to close the Chapter 11 Case.
         21      J.         Successors and Assigns
         22
                         From and after the Effective Date, this Plan shall be binding upon and inure to the benefit of
         23      the Debtor, the Liquidation Trustee, and their respective successors and assigns. The rights, benefits,
                 and obligations of any Person or Entity named or referred to in this Plan shall be binding on, and shall
         24      inure to the benefit of, any heir, executor, administrator, successor, or assign of such Person or Entity.
         25      K.         Reservation of Rights
         26              Except as expressly set forth herein, this Plan shall have no force or effect unless and until the
                 Bankruptcy Court enters the Confirmation Order and this Plan is Consummated. Neither the filing of
         27
                 this Plan, any statement or provision contained herein, nor the taking of any action by the Plan
         28      Proponent or any other Entity with respect to this Plan shall be or shall be deemed to be an admission

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          1      or waiver of any rights of: (1) the Plan Proponent with respect to the Holders of Claims or other
                 Entity; or (2) any Holder of a Claim or other Entity prior to the Effective Date.
          2
                          Neither the exclusion or inclusion by the Plan Proponent of any contract or lease on any
          3
                 Exhibit, schedule, or other annex to this Plan or in the Plan Supplement, nor anything contained in this
          4      Plan, will constitute an admission by the Plan Proponent that any such contract or lease is or is not an
                 Executory Contract or Unexpired Lease or that the Debtor, the Estate or the Liquidation Trust has any
          5      liability thereunder.

          6             Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit, diminish,
                 or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the Debtor or the
          7      Liquidation Trustee under any Executory Contract or non-Executory Contract or Unexpired Lease or
          8      expired lease.

          9             Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
                 responsibilities, or liabilities of the Debtor or the Liquidation Trustee under any Executory Contract
         10      or non-Executory Contract or Unexpired Lease or expired lease.
         11      L.         Further Assurances
         12             The Plan Proponent, the Liquidation Trustee, all Holders of Claims receiving Plan
                 Distributions, and all other Entities shall, from time to time, prepare, execute, and deliver any
         13
                 agreements or documents and take any other actions as may be necessary or advisable to effectuate
         14      the provisions and intent of this Plan or the Confirmation Order. On or before the Effective Date, the
                 Plan Proponent shall File with the Bankruptcy Court all agreements and other documents that may be
         15      necessary or appropriate to effectuate and further evidence the terms and conditions hereof.
         16      M.         Nonseverability
         17              If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
         18      Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power to
                 alter and interpret such term or provision to make it valid or enforceable to the maximum extent
         19      practicable, and such term or provision will then be applicable as altered or interpreted.
                 Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
         20      provisions of this Plan will remain in full force and effect and will in no way be affected, impaired, or
                 invalidated by such holding, alteration, or interpretation. The Confirmation Order will constitute a
         21      judicial determination and will provide that each term and provision of this Plan, as it may have been
         22      altered or interpreted in accordance with the foregoing, is (1) valid and enforceable pursuant to its
                 terms, (2) integral to the Plan and may not be deleted or modified without the Plan Proponent’s
         23      consent, and (3) nonseverable and mutually dependent.

         24      N.         Service of Documents
         25              All notices, requests, and demands to or upon the Plan Proponent to be effective shall be in
                 writing and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
         26      made when actually delivered or, in the case of notice by email transmission, when received, addressed
         27      as follows:

         28                       Perkins Coie LLP

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          1                       505 Howard Street, Suite 1000
                                  San Francisco, CA 94105
          2                       Telephone: 415.344.7000
          3                       Facsimile: 415.344.7050
                                  Attn: Paul S. Jasper (PJasper@perkinscoie.com)
          4
                                  Sills Cummis & Gross P.C.
          5                       One Riverfront Plaza
                                  Newark, New Jersey 07102
          6                       Telephone: 973.643.7000
          7                       Facsimile: 973.643.6500
                                  Attn: Andrew H. Sherman (ASherman@sillscummis.com)
          8                               Boris I. Mankovetskiy (BMankovetskiy@sillscummis.com)

          9                       and the Liquidation Trustee at contact information to be provided.
         10      O.         Filing of Additional Documents
         11              On or before the Effective Date, the Plan Proponent may File with the Bankruptcy Court such
         12      agreements and other documents as may be necessary or appropriate to effectuate and further evidence
                 the terms and conditions of the Plan.
         13
                 P.         Exemption       from    Certain      Transfer       Taxes      Pursuant       to     Section
         14                 1146(a) of the Bankruptcy Code
         15              To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy Code,
                 any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax or
         16
                 governmental assessment in the United States, and the Confirmation Order shall direct the appropriate
         17      federal, state, or local governmental officials or agents or taxing authority to forego the collection of
                 any such Stamp or Similar Tax or governmental assessment and to accept for filing and recordation
         18      instruments or other documents pursuant to such transfers of property without the payment of any such
                 Stamp or Similar Tax or governmental assessment.
         19
                 Q.         Incorporation of Other Documents
         20
                         All Exhibits to the Plan and the Plan Supplement, including any amendments, restatements,
         21
                 supplements, or other modifications to such agreements and documents, and any consents, waivers, or
         22      other deviations under or from any such documents, shall be incorporated herein by this reference
                 (including to the applicable definitions in Article I.B) and be fully enforceable as if stated in full
         23      herein.
         24      R.         Governing Law
         25              Except to the extent that the Bankruptcy Code, the Bankruptcy Rules, or other federal law is
                 applicable, or to the extent that an Exhibit or schedule to this Plan provides otherwise, the rights and
         26
                 obligations arising under this Plan shall be governed by, and construed and enforced in accordance
         27      with, the laws of California, without giving effect to the principles of conflicts of law of such
                 jurisdiction.
         28

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          1      S.         Tax Reporting and Compliance
          2               The Debtor, the Committee and the Liquidation Trustee are hereby authorized to request an
                 expedited determination under section 505(b) of the Bankruptcy Code of the tax liability of the Debtor
          3
                 for all taxable periods ending after the Petition Date through and including the Effective Date.
          4
                 T.         Controlling Document
          5
                         In the event of an inconsistency between this Plan, on the one hand, and the Plan Supplement,
          6      any other of the Plan Documents, or any other instrument or document created or executed pursuant
                 to this Plan, on the other hand, or between this Plan and the Disclosure Statement, this Plan shall
          7      control. The provisions of this Plan and of the Confirmation Order shall be construed in a manner
                 consistent with each other so as to effectuate the purposes of each; provided, however, that if there is
          8
                 determined to be any inconsistency between any provision of this Plan and any provision of the
          9      Confirmation Order that cannot be so reconciled, then, solely to the extent of such inconsistency, the
                 provisions of the Confirmation Order shall govern. For the avoidance of doubt, nothing in the Plan or
         10      the Confirmation Order shall be construed to amend, modify, or abrogate any prior order of the
                 Bankruptcy Court in the Chapter 11 Case.
         11
                 U.         Confirmation Request
         12
                        The Plan Proponent requests that the Bankruptcy Court confirm the Plan and that the
         13
                 Bankruptcy Court do so, if applicable, pursuant to section 1129(b) of the Bankruptcy Code
         14      notwithstanding any rejection of the Plan by an Impaired Class.

         15

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          1      Dated: January 30, 2024

          2                                               By:     /s/ Paul S. Jasper
          3
                                                                  Paul S. Jasper (CA Bar No. 200138)
          4                                                       PERKINS COIE LLP
                                                                  505 Howard Street, Suite 1000
          5                                                       San Francisco, CA 94105
                                                                  Telephone: 415.344.7000
          6                                                       Facsimile: 415.344.7050
          7                                                       Email:         PJasper@perkinscoie.com

          8                                                       Andrew H. Sherman (admitted pro hac vice)
                                                                  Boris I. Mankovetskiy (admitted pro hac vice)
          9                                                       SILLS CUMMIS & GROSS P.C.
                                                                  One Riverfront Plaza
         10                                                       Newark, New Jersey 07102
         11                                                       Telephone: 973.643.7000
                                                                  Facsimile:    973.643.6500
         12                                                       Email:       ASherman@sillscummis.com
                                                                               BMankovetskiy@sillscummis.com
         13
                                                                   Co-Counsel to the Official Committee of Unsecured
         14                                                        Creditors
         15

         16                                                        /s/ Bruce D. Adams
                                                                   Bruce D. Adams
         17                                                        Co-Chair of Committee
         18

         19                                                        /s/ Ali Rashidian
                                                                   Dr. Ali Rashidian
         20                                                        Co-Chair of Committee
         21

         22

         23

         24

         25

         26

         27

         28                                [Signature Page to Chapter 11 Plan of Liquidation]


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                                      Exhibit A

                                   Excluded Parties



                                       [TBD]




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                                      Exhibit B

                              Liquidation Trust Agreement



                                         [TBD]




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